UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------X
KNIGHT FIRST AMENDMENT INSTITUTE AT
COLUMBIA UNIVERSITY, REBECCA BUCKWALTER,
PHILIP COHEN, HOLLY FIGUEROA, EUGENE GU,
BRANDON NEELY, JOSEPH PAPP, and                         MEMORANDUM AND ORDER
NICHOLAS PAPPAS,
                                                         17 Civ. 5205 (NRB)
                  Plaintiffs,

             - against -

DONALD J. TRUMP, HOPE HICKS, SARAH
HUCKABEE SANDERS, and DANIEL SCAVINO,

               Defendants.
----------------------------------------X

NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE

     This case requires us to consider whether a public official

may, consistent with the First Amendment, “block” a person from

his Twitter account in response to the political views that person

has expressed, and whether the analysis differs because that public

official is the President of the United States.                The answer to

both questions is no.

     Our analysis proceeds as follows.             We first set forth the

background     facts    regarding      Twitter     as    a    platform,   the

@realDonaldTrump account that is the center of this dispute, the

plaintiffs,     and    this   case’s       procedural   history.     Because

defendants object to our adjudication of this case based on

plaintiffs’ lack of standing, we then turn -- as we must -- to the

consideration of those jurisdictional arguments.             We conclude that

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the   plaintiffs      have   established    the     prerequisites     to     our

jurisdiction: they have experienced a legally cognizable injury,

those injuries are traceable to the President and Daniel Scavino’s

conduct, and a favorable judicial decision on the merits is likely

to redress those injuries.

      We   then    proceed   to   the   substance   of    plaintiffs’      First

Amendment claims.       We hold that portions of the @realDonaldTrump

account -- the “interactive space” where Twitter users may directly

engage with the content of the President’s tweets -- are properly

analyzed under the “public forum” doctrines set forth by the

Supreme Court, that such space is a designated public forum, and

that the blocking of the plaintiffs based on their political speech

constitutes   viewpoint      discrimination    that      violates   the    First

Amendment.    In so holding, we reject the defendants’ contentions

that the First Amendment does not apply in this case and that the

President’s personal First Amendment interests supersede those of

plaintiffs.

      Finally, we consider what form of relief should be awarded,

as plaintiffs seek both declaratory relief and injunctive relief.

While we reject defendants’ categorical assertion that injunctive

relief cannot ever be awarded against the President, we nonetheless

conclude that it is unnecessary to enter that legal thicket at

this time.        A declaratory judgment should be sufficient, as no

government official -- including the President -- is above the

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law, and all government officials are presumed to follow the law

as has been declared.

I.    Background

      The facts presented below are drawn almost entirely from the

stipulation of facts between the parties, see Stipulation, Sept.

28,   2017,    ECF   No.    30-1,   which   “applies   exclusively   to   this

litigation and does not constitute an admission for purposes of

any other proceeding,” Stip. at 1.1

      A.      The Twitter Platform

      “Twitter is a social media platform with more than 300 million

active users worldwide, including some 70 million in the United

States.”      Stip. ¶ 13.    A “‘user’ is an individual who has created

an account on the platform.”           Stip. ¶ 14.     “A Twitter user must

have an account name, which is an @ symbol followed by a unique

identifier (e.g., @realDonaldTrump), and a descriptive name (e.g.,

Donald J. Trump). The account name is called the user’s ‘handle.’”

Stip. ¶ 16.

      Twitter “allows users to post short messages,” Stip. ¶ 13,

which are called “tweets,” Stip. ¶ 14.          Tweets may be “up to [280]

characters in length,”2 may “include photographs, videos, and


      1 We appreciate the parties’ professional response to our suggestion that
they stipulate to the underlying facts so that the legal issues presented by
this dispute could be addressed without the need to undertake a lengthy
discovery process.
      2 At the time of the parties’ stipulation, most users were limited to 140

characters per tweet. The limit has since been increased to 280 characters.
See Aliza Rosen, Tweeting Made Easier, Twitter (Nov. 7, 2017), https://blog
.twitter.com/official/en_us/topics/product/2017/tweetingmadeeasier.html.
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links,” and are posted “to a webpage on Twitter that is attached

to the user’s account.”     Stip. ¶ 14.      “An individual ‘tweet’

comprises the tweeted content (i.e., the message, including any

embedded photograph, video, or link), the user’s account name (with

a link to the user’s Twitter webpage), the user’s profile picture,

the date and time the tweet was generated, and the number of times

the tweet has been replied to . . . , retweeted by . . . , or liked

by . . . other users.”   Stip. ¶ 17.

     The Twitter webpage that displays the collection of a user’s

tweets is known as the user’s “timeline.”      Stip. ¶ 15.   “When a

user generates a tweet, the timeline updates immediately to include

that tweet,” and “[a]nyone who can view a user’s Twitter webpage

can see the user’s timeline.”        Stip. ¶ 15.   “A user’s Twitter

webpage may also include a short biographical description; a

profile picture, such as a headshot; a ‘header’ image, which

appears as a banner at the top of the webpage; the user’s location;

a button labeled ‘Message,’ which allows two users to correspond

privately; and a small sample of photographs and videos posted to

the user’s timeline, which link to a full gallery.”      Stip. ¶ 16.

“By default, Twitter webpages and their associated timelines are

visible to everyone with internet access, including those who are

not Twitter users.   However, although non-users can view users’

Twitter webpages (if the accounts are public), they cannot interact

with users on the Twitter platform.”     Stip. ¶ 18.

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     A defining feature of Twitter is a user’s ability “to repost

or respond to others’ messages, and to interact with other Twitter

users in relation to those messages.” Stip. ¶ 13. “Beyond posting

tweets . . . , Twitter users can engage with one another in a

variety of ways.” Stip. ¶ 21. First, “they can ‘retweet’ -- i.e.,

repost -- the tweets of other users, either by posting them

directly to their own followers or by ‘quoting’ them in their own

tweets.     When a user retweets a tweet, it appears on the user’s

timeline in the same form as it did on the original user’s

timeline,    but   with   a   notation   indicating   that   the   post   was

retweeted.”    Stip. ¶ 21.     Second, “[a] Twitter user can also reply

to other users’ tweets.        Like any other tweet, a reply can be up

to [280] characters in length and can include photographs, videos,

and links.”    Stip. ¶ 22.     This reply may be viewed in two places:

when a user sends a reply, “the reply appears on the user’s

timeline under a tab labeled ‘Tweets & replies.’”             However, the

reply may also be accessed from the feed of the user sending the

tweet being replied to: “by clicking on the tweet that prompted

the reply[,] the reply will appear below the original tweet, along

with other users’ replies to the same tweet.”         Stip. ¶ 22.    Third,

“[a] Twitter user can also ‘favorite’ or ‘like’ another user’s

tweet by clicking on the heart icon that appears under the tweet.

By ‘liking’ a tweet, a user may mean to convey approval or to

acknowledge having seen the tweet.”          Stip. ¶ 24.      Fourth, “[a]

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Twitter user can also ‘mention’ another user by including the other

user’s Twitter handle in a tweet.         A Twitter user mentioned by

another user will receive a ‘notification’ that he or she has been

mentioned in another user’s tweet.” Stip. ¶ 25. Finally, “Twitter

users can subscribe to other users’ messages by ‘following’ those

users’ accounts. Users generally can see all tweets posted or

retweeted by accounts they have followed.”          Stip. ¶ 19. “Tweets,

retweets, replies, likes, and mentions are controlled by the user

who generates them.      No other Twitter user can alter the content

of any retweet or reply, either before or after it is posted.

Twitter users cannot prescreen tweets, replies, likes, or mentions

that reference their tweets or accounts.”       Stip. ¶ 26.

     Because a retweet or a reply to a tweet is itself a tweet,

each retweet and reply, recursively, may be retweeted, replied to,

or liked.   “A Twitter user can also reply to other replies.             A

user whose tweet generates replies will see the replies below his

or her original tweet, with any replies-to-replies nested below

the replies to which they respond.       The collection of replies and

replies-to-replies      is   sometimes   referred   to   as   a   ‘comment

thread.’”    Stip. ¶ 23.       “Twitter is called a ‘social’ media

platform in large part because of comment threads, which reflect

multiple overlapping ‘conversations’ among and across groups of

users.”   Stip. ¶ 23.




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     In addition to these means of interaction, Twitter offers two

means of limiting interaction with other users: blocking and

muting.     First, “[a] user who wants to prevent another user from

interacting with her account on the Twitter platform can do so by

‘blocking’ that user.       (Twitter provides users with the capability

to block other users, but it is the users themselves who decide

whether to make use of this capability.)           When a user is signed in

to a Twitter account that has been blocked, the blocked user cannot

see or reply to the blocking user’s tweets, view the blocking

user’s list of followers or followed accounts, or use the Twitter

platform to search for the blocking user’s tweets.                The blocking

user will not be notified if the blocked user mentions her or posts

a tweet; nor, when signed in to her account, will the blocking

user see any tweets posted by the blocked user.”           Stip. ¶ 28.        “If,

while signed in to the blocked account, the blocked user attempts

to follow the blocking user, or to access the Twitter webpage from

which the user is blocked, the blocked user will see a message

indicating    that   the   other   user    has   blocked   him    or    her   from

following the account and viewing the tweets associated with the

account.”    Stip. ¶ 29.

     While    blocking     precludes   the   blocked   user      from   directly

interacting with the blocking user’s tweets -- including from

replying or retweeting those tweets, blocking does not eliminate

all interaction between the blocked user and the blocking user.

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“After a user has been blocked, the blocked user can still mention

the blocking user.      Tweets mentioning the blocking user will be

visible to anyone who can view the blocked user’s tweets and

replies.     A blocked user can also reply to users who have replied

to the blocking user’s tweets, although the blocked user cannot

see the tweet by the blocking user that prompted the original

reply. These replies-to-replies will appear in the comment thread,

beneath the reply to the blocking user’s original tweet.”              Stip.

¶ 30.     Further, “[i]f a blocked user is not signed in to Twitter,

he or she can view all of the content on Twitter that is accessible

to anyone without a Twitter account.”         Stip. ¶ 31.

        As distinguished from blocking, “[m]ut[ing] is a feature that

allows [a user] to remove an account's Tweets from [his or her]

timeline without unfollowing or blocking that account.                 Muted

accounts will not know that [the muting user has] muted them and

[the muting user] can unmute them at any time.”                 How to Mute

Accounts on Twitter, Twitter (last visited May 22, 2018), https://

help.twitter.com/en/using-twitter/twitter-mute           [hereinafter     How

to Mute].3    “Muted accounts can follow [the muting user] and [the

muting user] can follow muted accounts.           Muting an account will

not cause [the muting user] to unfollow them.”            Id.   If a muting

user follows a muted user, “[r]eplies and mentions by the muted


      3 The parties agree that we “may take judicial notice of the information

published in the ‘Using Twitter’ and ‘Policies and reporting’ guides available
on Twitter’s ‘Twitter Support’ webpage.” Stip. at 3 n.2.
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account will still appear in [the muting user’s] Notifications

tab,” and “[w]hen [the muting user] click[s] or tap[s] into a

conversation, replies from muted accounts will be visible.”                   Id.

By contrast, if a muting user does not follow a muted user,

“[r]eplies and mentions will not appear in [the muting user’s]

Notifications tab,” and “[w]hen [the muting user] click[s] or

tap[s] into a conversation, replies from muted accounts will be

not visible.”      Id.

     B.      The @realDonaldTrump Account

     “Donald Trump established @realDonaldTrump in March 2009.

Before his inauguration, he used this account to tweet about a

variety of topics, including popular culture and politics.                  Since

his inauguration in January 2017, President Trump has used the

@realDonaldTrump     account    as   a       channel    for   communicating   and

interacting with the public about his administration.                  He also has

continued to use the account, on occasion, to communicate about

other     issues   not   directly    related           to   official   government

business.”     Stip. ¶ 32.      “The Twitter page associated with the

account is registered to Donald J. Trump, ‘45th President of the

United States of America, Washington, D.C.’”                  Stip. ¶ 35.     “The

@realDonaldTrump account is generally accessible to the public at

large without regard to political affiliation or any other limiting

criteria.”    Stip. ¶ 36.      “[A]ny member of the public can view his

tweets without being signed in to Twitter, and anyone who wants to


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follow the account can do so.         President Trump has not issued any

rule or statement purporting to limit (by form or subject matter)

the speech of those who reply to his tweets.”               Stip. ¶ 36.

        Since   the   President’s   inauguration,         the    @realDonaldTrump

account has been operated with the assistance of defendant Daniel

Scavino, “the White House Social Media Director and Assistant to

the President [who] is sued in his official capacity only.”                   Stip.

¶ 12.     “With the assistance of Mr. Scavino in certain instances,

President Trump uses @realDonaldTrump, often multiple times a day,

to announce, describe, and defend his policies; to promote his

Administration’s        legislative    agenda;       to     announce     official

decisions; to engage with foreign political leaders; to publicize

state visits; to challenge media organizations whose coverage of

his   Administration      he   believes    to   be   unfair;      and   for   other

statements, including on occasion statements unrelated to official

government business.        President Trump sometimes uses the account

to announce matters related to official government business before

those matters are announced to the public through other official

channels.”       Stip.    ¶ 38.     “For    example,       the    President    used

@realDonaldTrump to announce on June 7, 2017, for the first time,

that he intended to nominate Christopher Wray for the position of

FBI director.”        Stip. ¶ 38.   Since the parties’ stipulation, the

President has also used the @realDonaldTrump account in removing




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then-Secretary        of   State   Rex   Tillerson4    and   then-Secretary    of

Veterans Affairs David Shulkin.5               Additionally, “[t]he National

Archives and Records Administration has advised the White House

that       the   President’s   tweets    from   @realDonaldTrump    . . .     are

official records that must be preserved under the Presidential

Records Act.”        Stip. ¶ 40.

       “Mr. Scavino in certain instances assists President Trump in

operating the @realDonaldTrump account, including by drafting and

posting tweets to the account.             Other White House aides besides

Mr. Scavino will, in certain instances, also suggest content for

@realDonaldTrump tweets.           President Trump also sometimes dictates

tweets to Mr. Scavino, who then posts them on Twitter.               President

Trump and/or Mr. Scavino sometimes retweet the tweets of those who

participate         in     comment       threads      associated    with      the

@realDonaldTrump account.”           Stip. ¶ 39.      “Mr. Scavino has access

to the @realDonaldTrump account, including the access necessary to

block and unblock individuals from the @realDonaldTrump account,”

Stip. ¶ 12, and has explained that @realDonaldTrump is a channel

“through which ‘President Donald J. Trump . . . [c]ommunicat[es]




       4Michael C. Bender & Felicia Schwartz, Rex Tillerson Is out as Secretary
of State; Donald Trump Taps Mike Pompeo, Wall St. J. (Mar. 13, 2018, 7:20 P.M.),
https://www.wsj.com/articles/rex-tillerson-is-out-as-secretary-of-state
-donald-trump-taps-mike-pompeo-1520978116.
      5 Donovan Slack, Veterans Affairs Secretary David Shulkin Is Out, Trump

Announces by Tweet, USA Today (Mar. 28, 2018, 8:46 P.M.), https://www.usatoday
.com/story/news/politics/2018/03/28/david-shulkin-veterans-affairs-secretary
-forced-out-john-kelly/346741002/.
                                          11
directly with you, the American people!’”    Stip. ¶ 37 (alterations

and omissions in original).

     Twitter users engage frequently with the President’s tweets.

“Typically, tweets from @realDonaldTrump generate thousands of

replies from members of the public, and some of those replies

generate hundreds or thousands of replies in turn.”        Stip. ¶ 41.

“For example, on July 26, 2017, President Trump issued a series of

tweets . . . announcing ‘that the United States Government will

not accept or allow . . . Transgender individuals to serve’ in the

military, and after less than three hours, the three tweets,

collectively, had been retweeted nearly 70,000 times, liked nearly

180,000 times, and replied to about 66,000 times.”         Stip. ¶ 41

(second omission in original).        “This level of engagement is

typical   for   President   Trump’s   tweets,”   Stip.   ¶ 42,   which

“frequently receive 15,000–20,000 retweets or more,” Stip. ¶ 42,

and “are each replied to tens of thousands of times,” Stip. ¶ 43.

     C.   The Individual Plaintiffs

     Rebecca Buckwalter, Philip Cohen, Holly Figueroa, Eugene Gu,

Brandon Neely, Joseph Papp, and Nicholas Pappas (collectively, the

“individual plaintiffs”), are all Twitter users.         Stip. ¶¶ 2-8.

They each tweeted a message critical of the President or his

policies in reply to a tweet from the @realDonaldTrump account.

Stip. ¶¶ 46-52.   Each individual plaintiff had his or her account

blocked shortly thereafter, and each account remains blocked.

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Stip. ¶¶ 46-52.    Defendants do “not contest Plaintiffs’ allegation

that the Individual Plaintiffs were blocked from the President’s

Twitter account because the Individual Plaintiffs posted tweets

that criticized the President or his policies.”           Stip. at 1.

     “As a result of the President’s blocking of the Individual

Plaintiffs from @realDonaldTrump, the Individual Plaintiffs cannot

view the President’s tweets; directly reply to these tweets; or use

the @realDonaldTrump webpage to view the comment threads associated

with the President’s tweets while they are logged in to their verified

accounts.”    Stip. ¶ 54.      However, “[t]he Individual Plaintiffs can

view tweets from @realDonaldTrump when using an internet browser or

other application that is not logged in to Twitter, or that is logged

in to a Twitter account that is not blocked by @realDonaldTrump.”

Stip. ¶ 55.   Additionally, “[s]ome of the Individual Plaintiffs have

established second accounts so that they can view the President’s

tweets.”   Stip. ¶ 56.

     Blocking     does   not    completely    eliminate   the    individual

plaintiffs’ ability to interact with the President’s tweets.                “The

Individual Plaintiffs can view replies to @realDonaldTrump tweets,

and can post replies to those replies, while logged in to the

blocked    accounts.     Replies-to-replies     appear    in    the   comment

threads    that   originate    with   @realDonaldTrump    tweets      and   are

visible to users who have not blocked (or been blocked by) the

Individual Plaintiffs.”         Stip. ¶ 57.    “Although the Individual

Plaintiffs who have been blocked have the ability to view and reply
                                      13
to replies to @realDonaldTrump tweets, they cannot see the original

@realDonaldTrump tweets themselves when signed in to their blocked

accounts, and in many instances it is difficult to understand the

reply tweets without the context of the original @realDonaldTrump

tweets.”        Stip. ¶ 58.       While “[i]n the past, Plaintiffs Holly

Figueroa, Eugene Gu, and Brandon Neely used a third-party service

called Favstar that could be used by blocked users to view and

reply     to    a   blocking     account’s      tweets   if   the   blocked   user

established a Favstar account and followed certain steps[,] [t]he

parties’ understanding is that it is no longer possible for blocked

users to use the Favstar service to view and reply to a blocking

account’s tweets.”           Stip. ¶ 59.

        These workarounds “require [the individual plaintiffs] to take

more steps than non-blocked, signed-in users to view the President’s

tweets.”       Stip. ¶ 55.    “All of the Individual Plaintiffs have found

these various ‘workarounds’ to be burdensome and to delay their

ability to respond to @realDonaldTrump tweets.                As a result, four

of the Individual Plaintiffs do not use them and the others use

them infrequently.”          Stip. ¶ 60.

        D.     The Knight Institute

        The “Knight First Amendment Institute at Columbia University

is a 501(c)(3) organization that works to defend and strengthen

the freedoms of speech and the press in the digital age through

strategic litigation, research, and public education.                   Staff at


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the Knight First Amendment Institute operate a Twitter account

under       the    handle   @knightcolumbia,     and   this    account   follows

@realDonaldTrump.”          Stip. ¶ 1.        In contrast to the individual

plaintiffs, “[t]he Knight Institute has not been blocked from the

@realDonaldTrump account.”             Stip. ¶ 61.     However, “[t]he Knight

Institute desires to read comments that otherwise would have been

posted by the blocked Plaintiffs, and by other accounts blocked by

@realDonaldTrump, in direct reply to @realDonaldTrump tweets,”

Stip. ¶ 61, and “[t]he @knightcolumbia account follows Professor

Cohen’s account, @familyunequal,” Stip. ¶ 62.                 “As of August 22,

2017,” however, “the Knight Institute did not follow the other six

Individual Plaintiffs on Twitter.”             Stip. ¶ 62.

        E.        Procedural History

        The Knight Institute and the individual plaintiffs filed suit

in July 2017, seeking declaratory and injunctive relief and naming

the President, Scavino, and then-White House Press Secretary Sean

Spicer as defendants.          Compl., July 11, 2017, ECF No. 1.          After

Spicer’s resignation in late July 2017, his successor as White

House Press Secretary, Sarah Huckabee Sanders, and White House

Communications Director Hope Hicks were substituted in his place

pursuant to Rule 25(d) of the Federal Rules of Civil Procedure.6


        6
        Hicks has since resigned her position as White House Communications
Director. See Katie Rogers & Maggie Haberman, Hope Hicks is Gone, and It’s Not
Clear Who Can Replace Her, N.Y. Times (Mar. 29, 2018), https://www.nytimes.com
/2018/03/29/us/politics/hope-hicks-white-house.html. Because plaintiffs seek
only prospective relief and Hicks was sued only in her official capacity, Stip.


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See Letter from Jameel Jaffer and Michael H. Baer to the Court,

Sept. 25, 2017, ECF No. 28.        After entering into the stipulation

of facts, defendants moved for summary judgment on October 13,

2017 and plaintiffs cross-moved for summary judgment on November

3, 2017.   We heard oral argument on March 8, 2018.

II.   Standing

      Before turning to the merits of this dispute, “we are required

to assure ourselves of jurisdiction.”          Am. Atheists, Inc. v. Port

Auth. of N.Y. & N.J., 760 F.3d 227, 237 n.11 (2d Cir. 2014).               At

bottom,    the    “judicial     Power     of   the   United     States”     is

constitutionally limited to “Cases” and “Controversies.”                  U.S.

Const. art. III, § 2.       Because “[s]tanding to sue is a doctrine

rooted in the traditional understanding of a case or controversy,”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), “[w]hether

a claimant has standing is the threshold question in every federal

case, determining the power of the court to entertain the suit,”

Fair Hous. in Huntington Comm. Inc. v. Town of Huntington, 316

F.3d 357, 361 (2d Cir. 2003).           “If plaintiffs lack Article III

standing, a court has no subject matter jurisdiction to hear their

claim.”    Cent. States Se. & Sw. Areas Health & Welfare Fund v.

Merck-Medco Managed Care, L.L.C., 433 F.3d 181, 198 (2d Cir. 2005).


¶ 10, the fact of Hicks’s resignation alone warrants summary judgment in her
favor. Further, because the President has not yet appointed Hicks’s successor,
no substitution by operation of Rule 25(d) can occur. Hicks will therefore be
dismissed as a defendant, and no one will be substituted in her stead at this
time. The Clerk of the Court is directed to amend the caption of this case
accordingly.
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     The Supreme Court has “established that the ‘irreducible

constitutional minimum’ of standing consists of three elements.”

Spokeo, 136 S. Ct. at 1547 (quoting Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992)).       “The plaintiff must have (1) suffered

an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant, and (3) that is likely to be redressed

by a favorable judicial decision.”          Id.   “The plaintiff, as the

party   invoking   federal   jurisdiction,        bears    the   burden   of

establishing these elements.”         Id.    “Since they are not mere

pleading requirements but rather an indispensable part of the

plaintiff’s case, each element must be supported in the same way

as any other matter on which the plaintiff bears the burden of

proof, i.e., with the manner and degree of evidence required at

the successive stages of the litigation.”         Defs. of Wildlife, 504

U.S. at 561.   “In response to a summary judgment motion, however,

the plaintiff can no longer rest on such ‘mere allegations,’ but

must ‘set forth’ by affidavit or other evidence ‘specific facts’”

supporting its standing.     Id.     (quoting Fed. R. Civ. P. 56(e)).

Conversely, in order to grant summary judgment in a plaintiff’s

favor, there must be no genuine issue of material fact as to that

plaintiff’s standing.

     Because   “the   standing    inquiry    requires     careful   judicial

examination of . . . whether the particular plaintiff is entitled

to an adjudication of the particular claims asserted,” Allen v.


                                    17
Wright, 468 U.S. 737, 752 (1984) (emphasis added), standing must

be   assessed      as    to    each   plaintiff      and    each    “plaintiff       must

demonstrate standing separately for each form of relief sought,”

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

528 U.S. 167, 185 (2000).             Further, because Article III does not

“permit[] suits against non-injurious defendants as long as one of

the defendants in the suit injured the plaintiff,” standing must

also be assessed as against each defendant.                   Mahon v. Ticor Title

Ins. Co., 683 F.3d 59, 62 (2d Cir. 2012).

      We    consider      the    three   elements      of    standing      as   to    the

individual plaintiffs before turning to the Knight Institute’s

standing.

      A.     Injury-in-Fact

      “To establish injury in fact, a plaintiff must show that he

or she suffered an invasion of a legally protected interest that

is   concrete      and   particularized        and    actual       or   imminent,    not

conjectural or hypothetical.” Spokeo, 136 S. Ct. at 1548 (internal

quotation marks omitted).             However, “[p]ast exposure to illegal

conduct does not in itself show a present case or controversy

regarding        injunctive     relief   . . .       if     unaccompanied       by   any

continuing, present adverse effects.”                     City of Los Angeles v.

Lyons,     461    U.S.   95,    102   (1983)    (alteration         and   omission     in

original) (quoting O’Shea v. Littleton, 414 U.S. 488, 495-96

(1974)).     Though “[p]ast wrongs” serve as “evidence bearing on


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whether there is a real and immediate threat of repeated injury,”

id. (internal quotation marks omitted), “[a] plaintiff seeking

injunctive or declaratory relief cannot rely on past injury to

satisfy the injury requirement,” Deshawn E. ex rel. Charlotte E.

v. Safir, 156 F.3d 340, 344 (2d Cir. 1998). Rather, that plaintiff

“must show a likelihood that he or she will be injured in the

future.”    Id.7

      “Although imminence is concededly a somewhat elastic concept,

it cannot be stretched beyond its purpose, which is to ensure that

the   alleged      injury   is   not   too   speculative   for    Article   III

purposes.”     Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(quoting Defs. of Wildlife, 504 U.S. at 565 n.2).                  Therefore,

“threatened injury must be ‘certainly impending’ to constitute

injury    in    fact”   that     satisfies   Article   III’s     requirements.

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990) (quoting Babbitt v.

United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)).                   A

“theory of standing [that] relies on a highly attenuated chain of

possibilities[] does not satisfy the requirement that threatened

injury must be certainly impending,” nor does an “objectively

reasonable likelihood” that the injury will occur.               Clapper, 568




      7 The absence of future injury also precludes a finding of redressability,
thereby defeating standing to seek injunctive relief on a second basis. See
Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 109 (1998) (“Because
[plaintiff] alleges only past infractions of [law], and not a continuing
violation or the likelihood of a future violation, injunctive relief will not
redress its injury.”).
                                        19
U.S. at 410 (citing Summers v. Earth Island Inst., 555 U.S. 488,

496 (2009), and Whitmore, 495 U.S. at 157-60).

     Further, the injury must be concrete and particularized. “For

an injury to be ‘particularized,’ it ‘must affect the plaintiff in

a personal and individual way.’”         Spokeo, 136 S. Ct. at 1548

(quoting Defs. of Wildlife, 504 U.S. at 560 n.1).        The plaintiff

“must have a personal stake in the outcome” and must assert

“something more than generalized grievances.”         United States v.

Richardson, 418 U.S. 166, 179-80 (1974) (internal quotation marks

omitted).     An “impact on him [that] is plainly undifferentiated

and common to all members of the public” is insufficient, id. at

176 (internal quotation marks omitted), as is a mere “special

interest” in a given problem without more, Sierra Club v. Morton,

405 U.S. 727, 739 (1972).      At the same time, “standing is not to

be denied simply because many people suffer the same injury.”

Massachusetts v. EPA, 549 U.S. 497, 526 n.24 (2007) (quoting United

States   v.    Students   Challenging   Regulatory   Agency    Procedures

(SCRAP), 412 U.S. 669, 687 (1973)).      “The fact that an injury may

be suffered by a large number of people does not of itself make

that injury a nonjusticiable generalized grievance.”          Spokeo, 136

S. Ct. at 1548 n.7.

     Concreteness “is quite different from particularization.”

Id. at 1548.    “A ‘concrete’ injury must be ‘de facto’; that is, it

must actually exist.” Id. The term “‘[c]oncrete’ is not, however,


                                   20
necessarily synonymous with ‘tangible,’” and “intangible injuries”

-- including infringements on the exercise of First Amendment

rights -- “can nevertheless be concrete.”        Id. at 1549 (citing

Pleasant Grove City v. Summum, 555 U.S. 460 (2009), and Church of

the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520

(1993)).

     In this case, the record establishes a number of limitations

on the individual plaintiffs’ use of Twitter as a result of having

been blocked.    As long as they remain blocked, “the Individual

Plaintiffs cannot view the President’s tweets; directly reply to

these tweets; or use the @realDonaldTrump webpage to view the

comment threads associated with the President’s tweets while they

are logged in to their verified accounts.”        Stip. ¶ 54.     While

alternative means of viewing the President’s tweets exist, Stip.

¶¶ 55-56, and the individual plaintiffs “have the ability to view

and reply to replies to @realDonaldTrump tweets, they cannot see

the original @realDonaldTrump tweets themselves when signed in to

their blocked accounts, and in many instances it is difficult to

understand the reply tweets without the context of the original

@realDonaldTrump tweets,” Stip. ¶ 58.

     These   limitations   are   cognizable   injuries-in-fact.    The

individual plaintiffs’ ability to communicate using Twitter has

been encumbered by these limitations (regardless of whether they

are harms cognizable under the First Amendment).     Further, as long


                                   21
as the individual plaintiffs remain blocked, their ability to

communicate using Twitter will continue to be so limited.               Stip.

¶¶ 28-31, 54.       The individual plaintiffs have experienced past

harm in that their ability to use Twitter to interact with the

President’s tweets has been limited, and -- absent some unforeseen

change to the blocking functionality -- they will continue to

experience that harm as long as they are blocked.               These future

harms are not only certainly impending as required for standing

purposes, but they are in fact virtually certain because the

individual plaintiffs continue to be blocked.8

      These injuries are also concrete and particularized.              While

they are not tangible in nature, these limitations are squarely

within   the    “intangible   injuries”    previously    determined     to   be

concrete.      See Spokeo, 136 S. Ct. at 1549.       These limitations are

also particularized, in that they have affected and will affect

the individual plaintiffs in a “personal and individual way” --

each contends that his or her personal First Amendment rights have

been and will continue to be encumbered, and the ability to

communicate has been and will be limited because of each individual




      8 Further, the Court suggested at oral argument that the parties consider

a resolution of this dispute under which the individual plaintiffs would be
unblocked and subsequently muted, an approach that would restore the individual
plaintiffs’ ability to interact directly with (including by replying directly
to) tweets from the @realDonaldTrump account while preserving the President’s
ability to ignore tweets sent by users from whom he does not wish to hear. The
fact that no such resolution has been reached further suggests that the
individual plaintiffs will continue to be blocked and, consequently, will
continue to face the harms of which they complain.
                                      22
plaintiff’s personal ownership of a Twitter account that was

blocked.    See id. at 1548.        We accordingly conclude that the

individual plaintiffs have established imminent injury-in-fact

that is concrete and particularized, which is sufficient for

Article III standing purposes.

      B.   Causation

      The causation requirement demands that the complained-of

injury “fairly can be traced to the challenged action of the

defendant” as opposed to “injury that results from the independent

action of some third party not before the court.”          Simon v. E. Ky.

Welfare Rights Org., 426 U.S. 26, 41–42 (1976).        While the Supreme

Court has often defined the causation prong of standing with

reference to a defendant’s challenged action, it has also referred

to a defendant’s “conduct.”        See, e.g., Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454

U.S. 464, 472 (1982) (quoting Gladstone, Realtors v. Village of

Bellwood, 441 U.S. 91, 99 (1979)).        Accordingly, an omission may

provide a basis for standing just as an affirmative action may.

See Cortlandt St. Recovery Corp. v. Hellas Telecomms., S.à.r.l.,

790 F.3d 411, 417 (2d Cir. 2015) (describing causation as requiring

“that the injury was in some sense caused by the opponent’s action

or   omission”);   see   also,   e.g.,   Elec.   Privacy   Info.   Ctr.   v.

Presidential Advisory Comm’n on Election Integrity, 878 F.3d 371,




                                    23
378 (D.C. Cir. 2017) (referring to a “defendant’s action or

omission”).

       “The traceability requirement for Article III standing means

that the plaintiff must ‘demonstrate a causal nexus between the

defendant’s conduct and the injury.’” Rothstein v. UBS AG, 708

F.3d 82, 91 (2d Cir. 2013) (quoting Heldman v. Sobol, 962 F.2d

148,   156   (2d    Cir.   1992)).       “Proximate       causation    is   not   a

requirement of Article III standing, which requires only that the

plaintiff’s       injury   be   fairly        traceable   to   the    defendant’s

conduct.”    Lexmark Int’l, Inc. v. Static Control Components, Inc.,

134 S. Ct. 1377, 1391 n.6 (2014).

             1.    Sarah Huckabee Sanders

       Plaintiffs have not established standing against defendant

Sanders. “Ms. Sanders does not have access to the @realDonaldTrump

account,” Stip. ¶ 11, and plaintiffs do not suggest that Sanders

blocked the individual plaintiffs in the first instance or that

she could unblock the individual plaintiffs upon a legal finding

that     such      blocking     is       constitutionally        impermissible.

Accordingly, plaintiffs do not challenge any action that Sanders

has taken (or can take).        The individual plaintiffs’ injuries-in-

fact are not attributable to Sanders, and they accordingly lack

Article III standing to sue her.               See, e.g., Simon, 426 U.S. at

41-42.    Summary judgment will therefore be granted in favor of

defendant Sanders.


                                         24
            2.     Daniel Scavino

        In contrast to Sanders, “Mr. Scavino has access to the

@realDonaldTrump account, including the access necessary to block

and unblock individuals from the @realDonaldTrump account.”                     Stip.

¶ 12.    Indeed, “Mr. Scavino posts messages on behalf of President

Trump to @realDonaldTrump and other social media accounts,” Stip.

¶ 12,     and     “assists      President          Trump     in     operating     the

@realDonaldTrump account, including by drafting and posting tweets

to the account,” Stip. ¶ 39.                While Scavino unquestionably has

access to the @realDonaldTrump account and participates in its

operation, such involvement does not, by itself, establish that

the plaintiffs’ injuries may be fairly traced to an action taken

by Scavino as required for standing purposes.                     The only evidence

in the record as to Scavino pertains to this general involvement,

and the record is devoid of any suggestion that he blocked the

individual plaintiffs.

        Nonetheless, the Second Circuit and several other Courts of

Appeals have recognized that in cases seeking prospective relief,

an official defendant’s lack of personal involvement in past

constitutional         violations    does    not    render    that    defendant    an

improper one for purposes of prospective declaratory or injunctive

relief from continuing violations -- provided that the defendant

maintains       some    connection     to,     or    responsibility      for,     the

continuing violation.         See Koehl v. Dalsheim, 85 F.3d 86, 89 (2d


                                        25
Cir. 1996) (holding that “the complaint also sought injunctive

relief against [a defendant official], and dismissal of that claim

was not warranted” despite the “lack of an allegation of personal

involvement” warranting dismissal of a damages claim); Pugh v.

Goord, 571 F. Supp. 2d 477, 517 (S.D.N.Y. 2008) (Sullivan, J.)

(requiring “only that a defendant have a ‘connection’ with the

[allegedly unconstitutional] act, and not more” (citing, inter

alia, Dairy Mart Convenience Stores, Inc. v. Nickel (In re Dairy

Mart Convenience Stores, Inc.), 411 F.3d 367, 372-73 (2d Cir.

2005))); Loren v. Levy, No. 00 Civ. 7687, 2003 WL 1702004, at *11

(S.D.N.Y. Mar. 31, 2003) (Chin, J.) (“[A]ctions involving claims

for prospective declaratory or injunctive relief are permissible

provided the official against whom the action is brought has a

direct connection to, or responsibility for, the alleged illegal

action.” (quoting Davidson v. Scully, 148 F. Supp. 2d 249, 254

(S.D.N.Y. 2001)), aff’d, 120 F. App’x 393 (2d Cir. 2005); see also

Parkell   v.   Danberg,   833   F.3d   313,   332   (3d   Cir.   2016)   (“Our

conclusion that the State Defendants lacked personal involvement

in past constitutional violations does not preclude [plaintiff]

from   obtaining    prospective        injunctive    relief      for   ongoing

violations.”); Pouncil v. Tilton, 704 F.3d 568, 576 (9th Cir. 2012)

(concluding that a named defendant official was a “proper defendant

on a claim for prospective injunctive relief . . . because he would

be responsible for ensuring that injunctive relief was carried


                                       26
out, even if he was not personally involved in the decision giving

rise to [plaintiff’s] claims”); Gonzalez v. Feinerman, 663 F.3d

311, 315 (7th Cir. 2011) (per curiam) (“[S]ince [plaintiff] also

seeks injunctive relief it is irrelevant whether [the defendant

official] participated in the alleged violations.”).

       While this line of cases developed in the context of suits

against state officials and the Ex parte Young exception to state

sovereign immunity under the Eleventh Amendment, see In re Dairy

Mart, 411 F.3d at 372-73; see also Finstuen v. Crutcher, 496 F.3d

1139, 1151 (10th Cir. 2007); Pennington Seed, Inc. v. Produce Exch.

No. 299, 457 F.3d 1334, 1341-42 (Fed. Cir. 2006), it is no less

applicable    to   the   present   context    of   suits   against    federal

officials.9     As the Supreme Court has explained, suits seeking

prospective relief against federal officials alleging continuing

constitutional violations and those against state officials share

common characteristics and a common historical basis: “we have

long held that federal courts may in some circumstances grant

injunctive relief against state officers who are violating, or

planning to violate, federal law.         But that has been true not only

with respect to violations of federal law by state officials, but

also   with   respect    to   violations   of   federal    law   by   federal

officials.”    Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct.


      9 Both parties’ reliance on other precedents developed in the context of

suits against state officials under 42 U.S.C. § 1983 further persuades us that
this line of precedent is applicable here.
                                     27
1378, 1384 (2015) (citations omitted).               “The ability to sue to

enjoin unconstitutional actions by state and federal officers is

the creation of courts of equity, and reflects a long history of

judicial review of illegal executive action, tracing back to

England.”    Id. (emphasis added).

       The lack of a prior personal involvement requirement in

actions seeking prospective relief does not vitiate standing’s

traceability requirement, as defendants suggest.                 The defendant

official’s    connection     to   the    ongoing     violation,    see,      e.g.,

Parkell, 833 F.3d at 332; Pouncil, 704 F.3d at 576; Gonzalez, 663

F.3d   at   315;   Pugh,   571    F.   Supp.    2d   at   517,   satisfies     the

traceability requirement.         Assuming the existence of an ongoing

violation, an official who has some connection to the violation -

- i.e., one who may prospectively remedy it -- will contribute to

the violation and the future injury-in-fact that it may inflict by

failing to do so.          Here, assuming that the blocking of the

individual plaintiffs infringes their First Amendment rights,

those rights will continue to be infringed as long as they remain

blocked.    Cf. Lyons, 461 U.S. at 102 (“[P]ast exposure to illegal

conduct does not in itself show a present case or controversy

regarding     injunctive    relief      . . .   if    unaccompanied     by    any

continuing,    present     adverse     effects.”     (omission    in   original)

(quoting O’Shea, 414 U.S. at 495-96)).               Because Scavino has the

ability to unblock the plaintiffs, any future injury will be


                                        28
traceable to him because it will have resulted, at least in part,

from his failure to unblock them.                 Ultimately, as defendants’

quoted authority explains, “[s]tanding should be recognized as

long as the duty claim survives, but becomes irrelevant when

litigation reaches the point of rejecting the duty.”                    13A Charles

A. Wright et al., Federal Practice & Procedure, § 3531.5 (3d ed.)

(Westlaw 2018).           Because we must consider standing before the

merits, we have not at this point in the analysis considered

plaintiffs’ claim that the First Amendment imposes a duty on

Scavino to unblock the individual plaintiffs.10                        We therefore

conclude    that        the    traceability     requirement      of    standing   is

satisfied as to Scavino.

            3.     The President

      The record definitively establishes that the plaintiffs’

injuries-in-fact         are    directly      traceable    to    the    President’s

actions.         “The     President    blocked     [each    of    the    individual

plaintiffs] from the @realDonaldTrump account.”                   Stip. ¶¶ 46-52;

see also Stip. ¶ 54 (referring to “the President’s blocking of the




      10 Indeed, this passage of Federal Practice and Procedure suggests that a

plaintiff asserting a duty claim has standing as long as the claim remains
viable, and that the issue of standing becomes irrelevant when the duty is
rejected -- as the claim will have failed on the merits at that point. The
government’s argument that plaintiffs lack standing as to Scavino because
Scavino has no duty therefore inverts the analysis by resolving the merits
before standing. Cf. Steel Co., 523 U.S. at 89 (“[J]urisdiction . . . is not
defeated . . . by the possibility that the averments might fail to state a cause
of action on which petitioners could actually recover.” (omissions in original)
(quoting Bell v. Hood, 327 U.S. 678, 682 (1946)).
                                           29
Individual Plaintiffs”).        The causation requirement is therefore

amply satisfied as to the President.

      C.    Redressability

      In order for redressability to be satisfied, “it must be

likely that a favorable judicial decision will prevent or redress

the injury.”      Earth Island Inst., 555 U.S. at 493.               That is,

redressability must be “likely, as opposed to merely speculative,”

Laidlaw, 528 U.S. at 181, but it “is not a demand for mathematical

certainty,” Mhany Mgmt., Inc. v. County of Nassau, 819 F.3d 581,

602 (2d Cir. 2016) (quoting Toll Bros., Inc. v. Township of

Readington, 555 F.3d 131, 143 (3d Cir. 2009)).                  “All that is

required is a showing that such relief be reasonably designed to

improve the opportunities of a plaintiff not otherwise disabled to

avoid the specific injury alleged.”           Huntington Branch, NAACP v.

Town of Huntington, 689 F.2d 391, 394 (2d Cir. 1982).

      Further, any relief provided need not be complete.                   “The

redressability element of the Article III standing requirement and

the ‘complete relief’ referred to by Rule 19 [of the Federal Rules

of Civil Procedure] are not identical,” Defs. of Wildlife, 504

U.S. at 570 n.4 (emphasis omitted) (plurality opinion),11 and a


      11 Rule 19(a) mandates the joinder of additional persons as parties if “in

that person’s absence, the court cannot accord complete relief among existing
parties,” provided that the joinder of that party does “not deprive the court
of subject-matter jurisdiction.”      Fed. R. Civ. P. 19(a)(1)(A).       Justice
Blackmun, dissenting in Defenders of Wildlife, had contended that the
plurality’s analysis of redressability rendered superfluous Rule 19’s
contemplation that the joinder of additional parties would be needed to afford


                                      30
plaintiff “need not show that a favorable decision will relieve

his every injury,” Larson v. Valente, 456 U.S. 228, 244 n.15

(1982).   As the Tenth Circuit has subsequently explained, “if the

law required that the requested relief afford complete redress,

the Supreme Court would not have allowed Massachusetts to proceed

against the EPA, as there was no guarantee a favorable decision

would mitigate future environmental damage, much less redress it

completely.”     Consumer Data Indus. Ass’n v. King, 678 F.3d 898,

905 (10th Cir. 2012) (citing Massachusetts v. EPA, 549 U.S. at

526); see also WildEarth Guardians v. U.S. Dep’t of Agric., 795

F.3d 1148, 1156 n.5 (9th Cir. 2015) (“Partial relief . . . would

qualify as redress for standing purposes.” (citing Meese v. Keene,

481 U.S. 465, 476-77 (1987))).        “[E]ven if [plaintiffs] would not

be out of the woods, a favorable decision would relieve their

problem ‘to some extent,’ which is all the law requires.” Consumer

Data, 678 F.3d at 903.

      We therefore conclude that the plaintiffs’ injuries may be

redressed through declaratory relief or through injunctive relief

directed at Scavino: the plaintiffs’ future injuries will be

prevented if they are unblocked -- an action within Scavino’s

power.    Stip. ¶ 12.       Nor is this redressability undercut, as

defendants     suggest,    by   the    President’s     ability    to    block




complete relief, as redressability would be lacking as an initial matter.   See
504 U.S. at 598 n.4 (Blackmun, J., dissenting).
                                      31
individuals.           The D.C. Circuit has explained that “the partial

relief [the plaintiff] can obtain against subordinate executive

officials is sufficient for redressability, even recognizing that

the President has the power, if he so chose, to undercut this

relief,” Swan v. Clinton, 100 F.3d 973, 980-81 (D.C. Cir. 1996),

reasoning that has since been adopted by the Eleventh Circuit, see

Made in the USA Found. v. United States, 242 F.3d 1300, 1309-11

(11th Cir. 2001).           Any declaratory or injunctive relief as to

Scavino that results in the unblocking of the individual plaintiffs

will redress at least some of their future injury, regardless of

whether       the      President   could,     theoretically,    reblock    them

subsequently.          And of course, “we may assume it is substantially

likely that the President and other executive . . . officials would

abide        by   an     authoritative      interpretation     of   [a]   . . .

constitutional provision by the District Court, even though they

would not be directly bound by such a determination.”               Franklin v.

Massachusetts, 505 U.S. 788, 803 (1992) (plurality opinion); see

also Utah v. Evans, 536 U.S. 452, 463-64 (2002).12 This substantial

likelihood, though not a mathematical certainty, is more than



        12
         This case involves the interpretation of only one law -- the First
Amendment.   The Government’s reliance on Delta Construction Co. v. EPA, 783
F.3d 1291 (D.C. Cir. 2015) (per curiam), and Doe v. Cuomo, 755 F.3d 105 (2d
Cir. 2014), each of which involved a plaintiff or petitioner subject to the
requirements of multiple laws, is accordingly misplaced.      In each of those
cases, the action that the plaintiff or petitioner sought to undertake would be
restricted by the unchallenged law, even if the plaintiff or petitioner were
ultimately successful in challenging the first law.


                                         32
sufficient     to        establish   the    redressability          of     plaintiffs’

injuries.13

      D.     The Knight Institute’s Organizational Standing

      “Under      [the]     theory   of     ‘organizational’         standing,       the

organization is just another person -- albeit a legal person --

seeking to vindicate a right.”                  N.Y. Civil Liberties Union v.

N.Y.C. Transit Auth., 684 F.3d 286, 294 (2d Cir. 2012).14                         When

organizations “sue on their own behalf, they must independently

satisfy the requirements of Article III standing.”                       Knife Rights,

Inc. v. Vance, 802 F.3d 377, 388 (2d Cir. 2015) (citing Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378–79 (1982)).                      Therefore,

the Knight Institute, “as an organization, [bears] the burden of

showing:    (i)     an    imminent   ‘injury      in   fact’   to    itself     as   an

organization (rather than to its members) that is ‘distinct and




      13 Our conclusion that the individual plaintiffs’ injuries are redressable

through relief directed at Scavino does not depend on his presence as a
defendant.    “The power conferred by the [All Writs Act, 28 U.S.C. § 1651,]
extends, under appropriate circumstances, to persons who, though not parties to
the original action or engaged in wrongdoing, are in a position to frustrate
the implementation of a court order or the proper administration of justice,
and encompasses even those who have not taken any affirmative action to hinder
justice.” United States v. N.Y. Tel. Co., 434 U.S. 159, 174 (1977) (citations
omitted); see also Made in the USA, 242 F.3d at 1310 n.25; Swan, 100 F.3d at
980; cf. Fed. R. Civ. P. 65(d)(2) (providing that injunctions and restraining
orders bind not only the parties but also their “officers, agents, servants,
employees, and attorneys” and “other persons who are in active concert or
participation” with those persons). Accordingly, even if Scavino were not a
defendant, relief could nonetheless be properly directed at him.
      14 An organizational plaintiff may also have associational standing, under

which “[a]n association has standing to bring suit on behalf of its members
when its members would otherwise have standing to sue in their own right, the
interests at stake are germane to the organization’s purpose, and neither the
claim asserted nor the relief requested requires the participation of individual
members in the lawsuit.” Laidlaw, 528 U.S. at 181. The Knight Institute does
not assert that it has standing under an associational standing theory.
                                           33
palpable’; (ii) that its injury is ‘fairly traceable’ to [the

complained-of act]; and (iii) that a favorable decision would

redress its injuries.”   Centro de la Comunidad Hispana de Locust

Valley v. Town of Oyster Bay, 868 F.3d 104, 109 (2d Cir. 2017)

(quoting Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011)).

     Here, the Knight Institute has sufficiently established an

injury-in-fact: the infringement of its desire “to read comments

that otherwise would have been posted by the blocked Plaintiffs

. . . in direct reply to @realDonaldTrump tweets.”    Stip. ¶ 61.

This infringement is a cognizable interest for standing purposes,

cf. Defs. of Wildlife, 504 U.S. at 562-63 (“[T]he desire to use or

observe . . . is undeniably a cognizable interest for purpose of

standing”), and the Knight Institute’s following of one of the

individual plaintiffs establishes that the Knight Institute “would

thereby be ‘directly’ affected apart from” its special interest in

the First Amendment, id. at 563. Contrary to defendants’ assertion

that the Knight Institute’s standing rests on an impermissibly

attenuated chain of possibilities, the injury in question is

straightforward: first, the individual plaintiffs cannot reply

directly to the President’s tweets because they have been blocked,

Stip. ¶¶ 28, 54, and second, the Knight Foundation possesses a

desire to read the direct replies that would have been tweeted,

Stip. ¶ 61.




                                34
     Defendants further contend that the Knight Institute has

suffered a noncognizable generalized grievance, but nothing in the

record suggests that the citizenry writ large desires to read the

individual plaintiffs’ tweets engaging with the President’s tweets

as the Knight Institute does.15         Even assuming a large number of

other individuals share such a desire, that numerosity would not

render the Knight Institute’s injury a generalized grievance that

cannot support Article III standing.           See, e.g., Spokeo, 136 S.

Ct. at 1548 n.7; Massachusetts v. EPA, 549 U.S. at 526 n.24.

     And    even   assuming    arguendo     that    the   Knight   Institute’s

assertion of its desire to view the individual plaintiffs’ tweets

standing alone is insufficient to support standing, see, e.g.,

Defs. of Wildlife, 504 U.S. at 562-64; Lujan v. Nat’l Wildlife

Fed’n, 497 U.S. 871, 886-89 (1990), any insufficiency is remedied

by the fact that the Knight Institute did and does follow one of

the individual plaintiffs, Stip. ¶ 62.             Defendants correctly note

that the Knight Institute did not follow on Twitter six of the

seven individual plaintiffs’ accounts (as of one month after this

lawsuit    was   filed),   Stip.    ¶ 62,   but     the   Knight   Institute’s

following of one of the individual plaintiffs is significant and

represents “dispositively more than the mere ‘general averments’

and ‘conclusory allegations’ found inadequate in National Wildlife

Federation,” Laidlaw, 528 U.S. at 184 (citing Nat’l Wildlife Fed’n,


     15   We would in fact be highly skeptical of any such contention.
                                      35
497 U.S. at 888), and comparable cases.           We therefore conclude

that   the   Knight   Institute   has    established   an   injury-in-fact

necessary to support its organizational standing.

       The causation and redressability elements of standing are

also satisfied as to the Knight Institute.       The causation analysis

as to the Knight Institute largely follows that applicable to the

individual    plaintiffs:   the   Knight    Institute’s     injury   --   the

inability to read the individual plaintiffs’ direct replies to the

President’s tweets -- is a direct consequence of the individual

plaintiffs being unable to reply directly to the President’s

tweets, which is, in turn, a direct consequence of the individual

plaintiffs having been blocked.          Stip. ¶¶ 28, 54, 59, 61.         The

Knight Institute’s injuries are similarly redressable -- if the

individual plaintiffs were unblocked, they would be able to tweet

direct replies to tweets sent by @realDonaldTrump and the Knight

Institute would again be able to fulfill its desire to read those

direct replies.       While the individual plaintiffs would need to

choose to reply in order for the Knight Institute to read a reply,

certain individual plaintiffs’ attempts to circumvent blocking’s

limitation on direct replies, Stip. ¶ 59, and the individual

plaintiffs’ identification of the burdens posed by blocking as

prompting their reduced engagement, Stip. ¶ 60, strongly suggests

that at least some of the individual plaintiffs are likely to reply




                                    36
if they were to have the capacity to do so.        Accordingly, we

conclude that the Knight Institute also has standing.

III. First Amendment

     Concluding that the individual plaintiffs and the Knight

Institute both have standing to sue Scavino and the President, we

turn to the First Amendment’s application to the distinctly twenty-

first century medium of Twitter.      The primary point of dispute

between the parties is whether a public official’s blocking of the

individual plaintiffs on Twitter implicates a forum for First

Amendment purposes.     Our analysis of this question proceeds in

several steps.

     “[W]e must first decide whether” the speech in which the

individual plaintiffs seek to engage “is speech protected by the

First Amendment.”     Cornelius v. NAACP Legal Def. & Educ. Fund,

Inc., 473 U.S. 788, 797 (1985); see also Int’l Soc’y for Krishna

Consciousness, Inc. v. Lee (ISKCON), 505 U.S. 672, 677 (1992).   A

conclusion that individual plaintiffs’ speech is protected speech,

however, “merely begins our inquiry.”   Cornelius, 473 U.S. at 799.

We must then assess whether the putative forum is susceptible to

forum analysis at all, see Ark. Educ. Television Comm’n v. Forbes,

523 U.S. 666, 677 (1998) (“Other government properties are . . .

not fora at all.”); see also Pleasant Grove City, 555 U.S. at 480

(identifying when “forum analysis is out of place”), identifying

with particularity the putative forum at issue, see Cornelius, 473


                                 37
U.S. at 800.       If so, we must then determine its classification.

Id. (“Having defined the relevant forum, we must then determine

whether it is public or nonpublic in nature.”).16              To the extent

we conclude that a First Amendment forum is implicated, we consider

whether “the extent to which the Government [has] control[led]

access” is consistent with the class of forum identified.              Id.

      A.     Protected Speech

      Our inquiry into whether the speech at issue is protected by

the First Amendment is straightforward.            The individual plaintiffs

seek to engage in political speech, Stip. ¶¶ 46-52, and such

“speech on matters of public concern” “fall within the core of

First Amendment protection,” Engquist v. Ore. Dep’t of Agric., 553

U.S. 591, 600 (2008).        Indeed, there is no suggestion that the

speech in which the individual plaintiffs engaged and seek to

engage fall within the “well-defined and narrowly limited classes

of speech,” such as obscenity, defamation, fraud, incitement, and

speech     integral   to    criminal    conduct,      “the    prevention     and

punishment    of    which   have   never    been    thought    to   raise    any

Constitutional problem.”       Brown v. Entm’t Merchs. Ass’n, 564 U.S.

786, 791 (2011) (quoting Chaplinsky v. New Hampshire, 315 U.S.

568, 571-72 (1942)); see also United States v. Stevens, 559 U.S.




      16 That is, the question of whether a space is susceptible to forum

analysis is analytically distinct from the question, assuming that forum
analysis applies, of what type of forum (traditional public, designated public,
or non-public) the space is.
                                       38
460,   468   (2010).    We   readily    conclude   the   speech    in   which

individual plaintiffs seek to engage is protected speech.

       B.    Applicability of Forum Doctrine

       We turn next to the applicability of forum doctrine.             As a

threshold matter, for a space to be susceptible to forum analysis,

it must be owned or controlled by the government.                 See, e.g.,

Cornelius, 473 U.S. at 801 (“[A] speaker must seek access to public

property or to private property dedicated to public use to evoke

First Amendment concerns.”).      Further, the application of forum

doctrine must be consistent with the purpose, structure, and

intended use of the space.       See, e.g., Pleasant Grove City, 555

U.S. at 480 (“[W]here the application of forum analysis would lead

almost inexorably to closing of the forum, it is obvious that forum

analysis is out of place.”).

       The Supreme Court has instructed that in determining whether

these requirements are satisfied (i.e., whether forum analysis can

be appropriately applied), we should identify the putative forum

by “focus[ing] on the access sought by the speaker.”              Cornelius,

473 U.S. at 801; see Lebron v. Nat’l R.R. Passenger Corp. (Amtrak),

69 F.3d 650, 655 (2d Cir. 1995).           “When speakers seek general

access to public property, the forum encompasses that property.”

Cornelius, 473 U.S. at 801.       By contrast, “[i]n cases in which

limited access is sought, [the Supreme Court’s] cases have taken

a more tailored approach to ascertaining the perimeters of a


                                   39
forum.”     Id.   For example, in Cornelius, where plaintiffs sought

access to a fundraising drive conducted in the federal workplace,

the   fundraising    drive    specifically,     rather   than    the     federal

workplace    generally,      constituted    the    would-be     forum.       Id.

Similarly, in Perry Education Ass’n v. Perry Local Educators’

Ass’n, where the plaintiff sought access to a public school’s

internal mail system in order to distribute literature, the mail

system rather than the school was the space in question.               460 U.S.

37, 46-47 (1983).     And in Lehman v. City of Shaker Heights, where

the plaintiff sought access to advertising space on the side of

city buses, the advertising space and not the buses constituted

the putative forum.       418 U.S. 298, 300-01 (1974).           Indeed, this

exercise in carefully delineating the putative forum based on the

access sought is not an academic one.         For instance, a public park

is susceptible to forum analysis when “used for purposes of

assembly, communicating thoughts between citizens, and discussing

public questions,” Perry Educ. Ass’n, 460 U.S. at 45 (quoting Hague

v. Comm. for Indus. Org., 307 U.S. 496, 515 (1939) (opinion of

Roberts,    J.)),   but   the   same   public     park   is   not   when    “the

installation of permanent monuments” is concerned, Pleasant Grove

City, 555 U.S. at 480.

      We can therefore reject, at the outset, any contention that

the @realDonaldTrump account as a whole is the would-be forum to

be analyzed.      Plaintiffs do not seek access to the account as a


                                       40
whole -- they do not desire the ability to send tweets as the

President, the ability to receive notifications that the President

would receive, or the ability to decide who the President follows

on Twitter.       Because the access they seek is far narrower, we

consider whether forum doctrine can be appropriately applied to

several aspects of the @realDonaldTrump account rather than the

account as a whole: the content of the tweets sent, the timeline

comprised of those tweets, the comment threads initiated by each

of those tweets, and the “interactive space” associated with each

tweet in which other users may directly interact with the content

of the tweets by, for example, replying to, retweeting, or liking

the tweet.

             1.   Government Ownership or Control

     First, to potentially qualify as a forum, the space in

question must be owned or controlled by the government.             While the

Supreme   Court     has   frequently        referred   to   “government-owned

property,” e.g., Pleasant Grove City, 555 U.S. at 478; see also

ISKCON, 505 U.S. at 678 (referring to property that the government

“owns and controls”), its precedents have also made clear that a

space may be a forum based on government control even absent legal

ownership, see, e.g., Christian Legal Soc’y Chapter of the Univ.

of Cal. v. Martinez, 561 U.S. 661, 679 (2010) (“[T]his Court has

employed forum analysis to determine when a governmental entity,

in regulating property in its charge, may place limitations on


                                       41
speech.” (emphasis added)); Cornelius, 473 U.S. at 801 (“[A]

speaker must seek access to public property or to private property

dedicated    to   public    use   to    evoke   First   Amendment   concerns.”

(emphasis added)); Perry Educ. Ass’n, 460 U.S. at 46 (“[T]he ‘First

Amendment does not guarantee access to property simply because it

is owned or controlled by the government.’” (emphasis added)

(quoting U.S. Postal Serv. v. Council of Greenburgh Civic Ass’ns,

453 U.S. 114, 130 (1981))); see also Se. Promotions, Ltd. v.

Conrad, 420 U.S. 546, 555 (1975) (concluding that a “privately

owned . . . theater under long-term lease to the city,” id. at

547, was a public forum, id. at 555).                   This requirement of

governmental control, rather than complete governmental ownership,

is not only consistent with forum analysis’s focus on “the extent

to which the Government can control access” to the space and

whether that control comports with the First Amendment, Cornelius,

473 U.S. at 800, but also better reflects that a space can be “a

forum more in a metaphysical than in a spatial or geographic

sense,” Rosenberger v. Rector & Visitors of the Univ. of Va., 515

U.S. 819, 830 (1995), and may “lack[] a physical situs,” Cornelius,

473   U.S.   at   801,     in   which   case    traditional   conceptions   of

“ownership” may fit less well.

      Here, the government-control prong of the analysis is met.

Though Twitter is a private (though publicly traded) company that

is not government-owned, the President and Scavino nonetheless


                                        42
exercise control over various aspects of the @realDonaldTrump

account: they control the content of the tweets that are sent from

the account and they hold the ability to prevent, through blocking,

other Twitter users, including the individual plaintiffs here,

from accessing the @realDonaldTrump timeline (while logged into

the blocked account) and from participating in the interactive

space associated with the tweets sent by the @realDonaldTrump

account, Stip. ¶¶ 12, 28-32, 39, 54. Though Twitter also maintains

control over the @realDonaldTrump account (and all other Twitter

accounts), we nonetheless conclude that the extent to which the

President and Scavino can, and do, exercise control over aspects

of the @realDonaldTrump account are sufficient to establish the

government-control element as to the content of the tweets sent by

the @realDonaldTrump account, the timeline compiling those tweets,

and the interactive space associated with each of those tweets.

While their control does not extend to the content of a retweet or

reply when made -- “[n]o other Twitter user can alter the content

of any retweet or reply, either before or after it is posted” and

a user “cannot prescreen tweets, replies, likes, or mentions that

reference their tweets or accounts,” Stip. ¶ 26 -- it nonetheless

extends to controlling who has the power to retweet or reply in

the first instance.

     The President and Scavino’s control over the @realDonaldTrump

account is also governmental.   The record establishes (1) that the

                                 43
@realDonaldTrump account is presented as being “registered to

Donald J. Trump, ‘45th President of the United States of America,

Washington, D.C.,’” Stip. ¶ 35; (2) “that the President’s tweets

from @realDonaldTrump . . . are official records that must be

preserved under the Presidential Records Act,” Stip. ¶ 40; see 44

U.S.C. § 2202 (directing the retention of “Presidential records”;

id. § 2201(2) (defining “Presidential records” as those created

“in the course of conducting activities which relate to or have an

effect upon the carrying out of the constitutional, statutory, or

other official or ceremonial duties of the President”); and (3)

that the @realDonaldTrump account has been used in the course of

the appointment of officers (including cabinet secretaries), the

removal of officers, and the conduct of foreign policy, Stip. ¶ 38

-- all of which are squarely executive functions, see U.S. Const.

art. II, § 2, cl. 2 (appointments); Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 492-93 (2010) (relating

the President’s removal power to “his responsibility to take care

that the laws be faithfully executed” under Article II, section 3,

clause 5 of the Constitution (emphasis omitted)); Zivotofsky ex

rel. Zivotofsky v. Kerry, 135 S. Ct. 2076, 2090 (2015) (“The

President does have a unique role in communicating with foreign

governments   . . . .”).     That    is,    the    President   presents    the

@realDonaldTrump   account   as     being   a     presidential   account   as

opposed to a personal account and, more importantly, uses the


                                    44
account to take actions that can be taken only by the President as

President.   Accordingly, we conclude that the control that the

President and Scavino exercise over the account and certain of its

features is governmental in nature.

     Defendants contend that the governmental control-or-ownership

prong is not met because we must also analyze the specific action

in question -- blocking -- under the “under color of state law”

precedents developed in the context of actions against state

officials under 42 U.S.C. § 1983.      In that context, the standards

for whether an action was taken “under color of state law” and for

whether an action constitutes “state action” are identical, see

Lugar v. Edmondson Oil Co., 457 U.S. 922, 935 (1982), and an

official takes action under color of state law when he “exercise[s]

power ‘possessed by virtue of state law and made possible only

because the wrongdoer is clothed with the authority of state law.’”

West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v.

Classic, 313 U.S. 299, 326 (1941)).         Invoking this standard,

defendants contend that the act of blocking is not state action

triggering   First   Amendment   scrutiny   because   blocking   is   a

functionality made available to every Twitter user, Stip. ¶ 28,

and is therefore not a power possessed by virtue of state law.

     While the Constitution applies only to the government and not

private individuals, the requirement of state action in the forum

context is not usually analyzed separately (either in general or


                                  45
under the West standard specifically) from the government control-

or-ownership requirement.        As the Second Circuit has recently

explained, “[b]ecause facilities or locations deemed to be public

forums are usually operated by governments, determining that a

particular facility or location is a public forum usually suffices

to render the challenged action taken there to be state action

subject to First Amendment limitations.”            Halleck v. Manhattan

Cmty. Access Corp., 882 F.3d 300, 306–07 (2d Cir. 2018) (citing

Widmar v. Vincent, 454 U.S. 263, 265-68 (1981), and City of

Madison, Joint Sch. Dist. No. 8 v. Wisc. Emp’t Relations Comm’n,

429 U.S. 167, 169-76 (1976)).             While further analysis may be

necessary when the party exercising control over the forum is a

nongovernmental entity, see, e.g., id. at 307, in which case

consideration of the factors set forth by the Supreme Court in

Brentwood Academy v. Tennessee Secondary School Athletic Ass’n,

531 U.S. 288, 295-96 (2001), may be appropriate, the Brentwood

factors are a poor fit for the facts of this case: the parties

exercising control here are a public official, the President, and

his subordinate, Scavino, acting in his official capacity.17


     17 In Brentwood, the Supreme Court considered whether “a not-for-profit
membership corporation organized to regulate interscholastic sport among the
public and private high schools” engaged in state action when it enforced its
regulations against a member school. 531 U.S. at 291. The Court held that
“state action may be found if, though only if, there is such a ‘close nexus
between the State and the challenged action’ that seemingly private behavior
‘may be fairly treated as that of the State itself,’” but acknowledged that
“[w]hat is fairly attributable is a matter of normative judgment, and the
criteria lack rigid simplicity.” Id. at 295 (quoting Jackson v. Metro. Edison


                                     46
      Further, this argument, which focuses on the act of exclusion

divorced from the context of the space from which a person is being

excluded, proves too much and is difficult to reconcile with the

Supreme Court’s public forum precedents.              Defendants correctly

argue that blocking is a capability held by every Twitter user,

Stip. ¶ 28, but the power to exclude is also one afforded generally

to every property owner.           When a government acts to “legally

preserve the property under its control for the use to which it is

dedicated,” it behaves “like the private owner of property.”

Rosenberger, 515 U.S. at 829; Lamb’s Chapel v. Ctr. Moriches Union

Free Sch. Dist., 508 U.S. 384, 390 (1993); see also, e.g., Greer

v. Spock, 424 U.S. 828, 836 (“The State, no less than a private

owner of property, has the power to preserve the property under

its control . . . .”).       Indeed, when the government exercises its

“right to exclude others from entering and using [its] property,”

Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 539 (2005), it is

deploying “one of the most essential sticks in the bundle of rights

that are commonly characterized as property,” Dolan v. City of

Tigard, 512 U.S. 374, 384 (1994). The right to exclude is “perhaps

the most fundamental of all property interests,” Lingle, 544 U.S.



Co., 419 U.S. 345, 351 (1976)). After analyzing a number of factors, including
(1) whether the private actor was acting pursuant to the state’s coercive power,
(2) whether the private actor was undertaking a public function, and (3) whether
the private actor received significant encouragement from the state or whether
its functions were entwined with governmental policies, the Court concluded
that state action was present. See id. at 295-96; see also Sybalski v. Indep.
Grp. Home Living Program, Inc., 546 F.3d 255, 257 (2d Cir. 2008) (per curiam)
(analyzing Brentwood).
                                      47
at 539, and it is one shared by the government and private property

owners   alike.      The    context   of    the   property       from    which    the

government is excluding, therefore, must factor into the analysis.

No one can seriously contend that a public official’s blocking of

a constituent from her purely personal Twitter account -- one that

she does not impress with the trappings of her office and does not

use to exercise the authority of her position -- would implicate

forum analysis, but those are hardly the facts of this case.

      For the same reason, defendants’ reliance on the President’s

establishment of the account in 2009, Stip. ¶ 32 -- well before

his election and inauguration as President -- is unpersuasive.                    To

the   extent     forum   analysis     applies,    “[t]he     past       history   of

characterization of a forum may well be relevant; but that does

not   mean   a    present   characterization       about     a    forum     may    be

disregarded.”     Ridley v. Mass. Bay Transp. Auth., 390 F.3d 65, 77

(1st Cir. 2004); see Make the Rd. by Walking, Inc. v. Turner, 378

F.3d 133, 143 (2d Cir. 2004) (recognizing that certain First

Amendment restrictions apply “so long as a forum remains public”);

cf. Bronx Household of Faith v. Bd. of Educ., 650 F.3d 30, 41 (2d

Cir. 2011) (reasoning that “the nature of the site changes”

depending on how the site is being used).             The Supreme Court has

expressly held that “a state is not required to indefinitely retain

the open character of the facility,” e.g., Perry Educ. Ass’n, 460

U.S. at 46, but changes need not be one-directional.                    Indeed, the


                                       48
entire concept of a designated public forum rests on the premise

that the nature of a (previously closed) space has been changed.

See, e.g., Cornelius, 473 U.S. at 802.

     To take two examples, if a facility initially developed by

the government as a military base -- plainly not a public forum

under Greer, 424 U.S. at 838 -- is subsequently decommissioned and

repurposed into a public park,18 the present use of the facility

as a park would bear much more heavily on the forum analysis than

its historical origins as a military installation.                   Similarly, if

a privately constructed airport were subsequently taken over by a

public agency, forum analysis would focus on its current use as a

public airport rather than its prior use as a private one.                       Cf.

ISKCON,   505    U.S.    at     681    (“The      practices   of   privately     held

transportation centers do not bear on the government’s regulatory

authority over a publicly owned airport.”).

     Here,      the    President       and    Scavino’s    present    use   of   the

@realDonaldTrump account weighs far more heavily in the analysis

than the origin of the account as the creation of private citizen

Donald Trump.         That latter fact cannot be given the dispositive

weight that defendants would ascribe to it.                   Rather, because the

President    and      Scavino    use    the       @realDonaldTrump    account    for




      18 Cf. Colo. Dep’t of Pub. Health & Env’t v. United States, No. 17-cv-

2223, 2018 WL 1152264, at *2 (D. Colo. Mar. 5, 2008) (describing the creation
of a national wildlife refuge from portions of the Rocky Mountain Arsenal).
                                             49
governmental functions, the control they exercise over it is

accordingly governmental in nature.

     That control, however, does not extend to the comment thread

initiated by a tweet sent by the @realDonaldTrump account.        The

comment thread -- consisting of the initial tweet, direct replies

to that tweet, and second-order (and higher-order) replies to those

replies -- therefore cannot be a putative forum.            While the

President and Scavino can control the interactive space by limiting

who may directly reply or retweet a tweet initially sent by the

@realDonaldTrump account, they lack comparable control over the

subsequent   dialogue   in   the   comment   thread.   As   plaintiffs

acknowledge, even the individual plaintiffs who have been blocked

“can view replies to @realDonaldTrump tweets, and can post replies

to those replies, while logged in to the blocked accounts,” and

that these “[r]eplies-to-replies appear in the comment threads

that originate with @realDonaldTrump tweets.” Stip. ¶ 57. Because

a Twitter user lacks control over the comment thread beyond the

control exercised over first-order replies through blocking, the

comment threads -- as distinguished from the content of tweets

sent by @realDonaldTrump, the @realDonaldTrump timeline, and the

interactive space associated with each tweet -- do not meet the

threshold criterion for being a forum.




                                   50
            2.    Purpose, Structure, and Intended Use

     We next assess whether application of forum analysis is

consistent with the purpose, structure, and intended use of the

three aspects of the @realDonaldTrump account that we have found

to   satisfy     the   government    control-or-ownership       criterion:

specifically, the content of tweets, the timeline comprised of the

account’s tweets, and the interactive space of each tweet.

     Generally,     “[t]he   forum   doctrine   has   been   applied   in

situations in which government-owned property or a government

program was capable of accommodating a large number of public

speakers without defeating the essential function of the land or

the program.”    Pleasant Grove City, 555 U.S. at 478.       By contrast,

forum analysis is not appropriately applied when “the government

has broad discretion to make content-based judgments in deciding

what private speech to make available to the public.”              United

States v. Am. Library Ass’n, 539 U.S. 194, 204 (2003) (plurality

opinion).   For example, the Supreme Court has held that “[w]hen a

public broadcaster exercises editorial discretion in the selection

and presentation of its programming,” its decisions are not subject

to forum analysis.     Forbes, 523 U.S. at 674.       Forum analysis was

inappropriate, the Court reasoned, because “[c]laims of access

under [the Court’s] public forum precedents could obstruct the

legitimate purposes of television broadcasters.”          Id.    “[B]road

rights of access for outside speakers would be antithetical, as a


                                     51
general rule, to the discretion that stations and their editorial

staff must exercise to fulfill their journalistic purpose and

statutory obligations.”      Id. at 673.     Similarly, the Supreme Court

has declined to apply forum analysis to a grant program operated

by the National Endowment for the Arts (NEA), reasoning that “[t]he

NEA’s mandate is to make esthetic judgments” and the application

of an “inherently content-based ‘excellence’ threshold for NEA

support.”     Nat’l Endowment for the Arts v. Finley, 524 U.S. 569,

586 (1998).        And applying Forbes and Finley, a four-Justice

plurality of the Supreme Court concluded that the internet access

provided by public libraries was not susceptible to forum analysis,

as forum analysis was “incompatible with the discretion that public

libraries must have to fulfill their traditional missions,” which

involve the “exercise of judgment in selecting the material [the

library] provides to its patrons.”          Am. Library Ass’n, 539 U.S. at

205 (plurality opinion).19      Ultimately, “where the application of

forum analysis would lead almost inexorably to closing of the

forum,   it   is   obvious   that   forum   analysis   is   out   of   place.”

Pleasant Grove City, 555 U.S. at 480.

     Government speech is one category of speech that falls outside

the domain of forum analysis: when the government “is speaking on

its own behalf, the First Amendment strictures that attend the


      19 Additionally, Justice Breyer agreed that forum analysis was not
applicable to the provision of internet access in public libraries. See Am.
Library Ass’n, 539 U.S. at 215-16 (Breyer, J., concurring in the judgment).
                                      52
various types of government-established forums do not apply.”

Walker v. Tex. Div., Sons of Confederate Veterans, Inc., 135 S.

Ct. 2239, 2250 (2015).    “The Free Speech Clause restricts [only]

government regulation of private speech; it does not regulate

government speech.”   Pleasant Grove City, 555 U.S. at 467.

     However, “[t]here may be situations in which it is difficult

to tell whether a government entity is speaking on its own behalf

or is providing a forum for private speech.”   Id. at 470.    Private

involvement in the formulation of the speech in question does not

preclude the conclusion that it is government speech. For example,

Pleasant Grove City concluded that monuments that were privately

financed but subsequently accepted by a municipal government and

displayed on public park land was government speech, see id. at

470-71, and Walker held that specialty license plate designs

proposed by private groups but approved and issued by a state

department of motor vehicles was also government speech, see 135

S. Ct. at 2248-50.    Conversely, “speech that is otherwise private

does not become speech of the government merely because the

government provides a forum for the speech or in some way allows

or facilitates it.”   Wandering Dago, Inc. v. Destito, 879 F.3d 20,

34 (2d Cir. 2018) (citing Cornelius, 473 U.S. at 811-13).

     In assessing whether speech constitutes government speech as

opposed to private speech, the Supreme Court has considered at

least three factors: whether government has historically used the


                                 53
speech in question “to convey state messages,” whether that speech

is   “often    closely         identified    in    the     public   mind”    with   the

government, and the extent to which government “maintain[s] direct

control over the messages conveyed,” with Walker’s application of

these factors “likely mark[ing] the outer bounds of the government-

speech doctrine.”          Matal v. Tam, 137 S. Ct. 1744, 1760 (2017)

(quoting Walker, 135 S. Ct. at 2246-49); see also Wandering Dago,

879 F.3d at 34 (distilling the same three factors from Walker).

        Based on the government speech doctrine, we reject out of

hand any contention that the content of the President’s tweets are

susceptible to forum analysis.               It is not so susceptible because

the content is government speech: the record establishes that the

President, sometimes “[w]ith the assistance of Mr. Scavino,” uses

the content of his tweets “to announce, describe, and defend his

policies; to promote his Administration’s legislative agenda; to

announce official decisions; to engage with foreign political

leaders;      to     publicize       state       visits;     to     challenge   media

organizations whose coverage of his Administration he believes to

be   unfair;       and   for    other   statements,        including    on   occasion

statements unrelated to official government business.”                          Stip.

¶ 38.    Indeed, the content of the tweets sent by @realDonaldTrump

are solely the speech of the President or of other government




                                            54
officials.      Stip. ¶ 39.20     For the same reason, the account’s

timeline, which “displays all tweets generated by the [account]”

is    not   susceptible   to    forum    analysis:   the    timeline    merely

aggregates the content of all of the account’s tweets, Stip. ¶ 15,

all of which is government speech.

        The same cannot be said, however, of the interactive space

for   replies   and   retweets   created     by   each   tweet   sent   by   the

@realDonaldTrump account.        At minimum, as to replies, they are

most directly associated with the replying user rather than the

sender of the tweet being replied to: a reply tweet appears with

the picture, name, and handle of the replying user, Stip. ¶¶ 23,

57, and appears most prominently in the timeline of the replying

user, Stip. ¶ 22.     Replying tweets are “controlled by the user who

generates them,” and “[n]o other Twitter user can alter the content

of any . . . reply, either before or after it is posted.”                Stip.

¶ 26.    Given the prominence with which the account information of

the replying user is displayed in the replying tweet, the reply is

unlikely to be “closely identified in the public mind” with the

sender, even when the sender of the tweet being replied to is a



      20 Whether the content of retweets initially sent by other users
constitutes government speech presents a somewhat closer question. The content
of a retweet of a tweet sent by another governmental account, Stip. ¶ 37, is
still squarely government speech. The content of the retweet of a tweet sent
by a private non-governmental account, Stip. ¶ 39, would still likely be
government speech.   Despite the private genesis of the content, the act of
retweeting by @realDonaldTrump resembles the government’s acceptance of the
monuments in Pleasant Grove and the government’s approval of the license plate
designs in Walker, which were sufficient to render the privately originated
speech governmental in nature.
                                        55
governmental one.         Matal, 137 S. Ct. at 1760; Walker, 135 S. Ct.

at 2248.         And, far from “maintain[ing] direct control over the

messages conveyed” in a user’s replies to the President’s tweets

(assuming the user retains the ability to reply, i.e., the user

has not been blocked), the government maintains no control over

the content of the reply.          Matal, 137 S. Ct. at 1760; Walker, 135

S.    Ct.   at    2249.    Taken   together,   these   factors    support     the

conclusion that replies to the President’s tweets remain the

private speech of the replying user.           The association that a reply

has with a governmental sender of the tweet being replied to --

the    indication     that   the   replying    tweet   is   a   reply   and   its

appearance in the comment thread accessed from the timeline of the

governmental sender -- is not sufficient to render the reply

government speech.21

       Nor is the interactive space of each tweet, as distinguished

from the content of the tweet, constrained by the notions of

inherent selectivity and scarcity that the Supreme Court held to

counsel against the application of forum doctrine in Finley and

Forbes and in Pleasant Grove City, respectively.                 Generally, no

selection is involved in determining who has the ability to


       21Retweets again present a closer question. A retweet appears “in the
same form as it did on the original [sender]’s timeline,” with the name, picture,
and handle of the original sender rather than the retweeter, and with an
additional “notation indicating that the post was retweeted” above the tweet in
smaller font.    Stip. ¶ 21.     Nonetheless, in the same way the President’s
retweeting of a tweet sent by a private individual likely renders the
President’s retweet government speech, a private individual’s retweet of a tweet
sent by the President is likely private speech rather than government speech.
                                       56
interact      directly     with    the    President’s     tweets:      the

@realDonaldTrump account is “generally accessible to the public at

large without regard to political affiliation or any other limiting

criteria,” such that any Twitter user who has not been blocked may

so engage.     Stip. ¶ 36.    Indeed, just as “a park can accommodate

many speakers and, over time, many parades and demonstrations”;

“[t]he Combined Federal Campaign permits hundreds of groups to

solicit donations from federal employees” as in Cornelius; “[a]

public university’s student activity fund can provide money for

many campus activities” as in Rosenberger; “a public university’s

buildings may offer meeting space for hundreds of student groups”

as in Widmar; and “[a] school system’s internal mail facilities

can support the transmission of many messages to and from teachers

and school administrators” as in Perry Education Ass’n, Pleasant

Grove City, 555 U.S. at 478, the interactive space of a tweet can

accommodate an unlimited number of replies and retweets.          Indeed,

the record establishes that tweets sent by the @realDonaldTrump

account regularly attract tens of thousands, if not hundreds of

thousands, of replies and retweets, Stip. ¶¶ 41-43, and nothing

suggests     that   the   “application   of   forum   analysis”   to   the

interactive space associated with a tweet “would lead almost

inexorably to closing of the forum,” id. at 480.            Rather, the

interactive space is “capable of accommodating a large number of

public speakers without defeating [its] essential function,” id.


                                    57
at 478; and indeed, the essential function of a given tweet’s

interactive space is to allow private speakers to engage with the

content of the tweet, Stip. ¶ 13, which supports the application

of forum analysis.

     Ultimately, the delineation of a tweet’s interactive space as

the putative forum is consistent with the Supreme Court’s directive

to “focus[] on the access sought by the speaker.”   Cornelius, 473

U.S. at 801.     When a user is blocked, the most significant

impediment is the ability to directly interact with a tweet sent

by the blocking user.   While a blocked user is also limited in

that the user may not view the content of the blocking user’s

tweets or view the blocking user’s timeline, those limitations may

be circumvented entirely by “using an internet browser or other

application that is not logged in to Twitter, or that is logged in

to a Twitter account that is not blocked.”       Stip. ¶ 55.    By

contrast, the ability to interact directly cannot be completely

reestablished, Stip. ¶¶ 54, 58-59, and that ability -- i.e., access

to the interactive space -- is therefore best described as the

access that the individual plaintiffs seek.

     In sum, we conclude that the interactive space associated

with each of the President’s tweets is not government speech and

is properly analyzed under the Supreme Court’s forum precedents.




                                58
     C.      Classification

     Having concluded that forum analysis is appropriately applied

to the interactive space associated with a tweet, we turn to the

question of classification.      “The Supreme Court has recognized

three types of fora across a spectrum of constitutional protection

for expressive activity.”     Make the Rd., 378 F.3d at 142.   First,

traditional public fora are “places which by long tradition or by

government fiat have been devoted to assembly and debate.”     Perry

Educ. Ass’n, 460 U.S. at 45. These spaces, like streets and parks,

“have immemorially been held in trust for the use of the public,

and, time out of mind, have been used for purposes of assembly,

communicating thoughts between citizens, and discussing public

questions.”     Id. (quoting Hague, 307 U.S. at 515 (opinion of

Roberts, J.)).      Absent a well-established history of dedication

to public use, however, a forum cannot be a traditional public

forum.    The Supreme Court has “rejected the view that traditional

public forum status extends beyond its historic confines.” Forbes,

523 U.S. at 678 (citing ISKCON, 505 U.S. at 680-81).

     “A second category consists of public property which the state

has opened for use by the public as a place for expressive

activity.”    Perry Educ. Ass’n, 460 U.S. at 45.   “To create a forum

of this type, the government must intend to make the property

‘generally available,’ to a class of speakers.”     Forbes, 523 U.S.

at 678 (citations omitted) (quoting Widmar, 454 U.S. at 264). “The


                                  59
government does not create a public forum by inaction or by

permitting limited discourse, but only by intentionally opening a

nontraditional forum for public discourse,” and we “look[] to the

policy and practice of the government to ascertain whether it

intended to designate a place not traditionally open to assembly

and debate as a public forum.”       Cornelius, 473 U.S. at 802.

Finally, a space that is susceptible to forum analysis but is “not

by tradition or designation a forum for public communication,”

Perry Educ. Ass’n, 460 U.S. at 46, is termed a “nonpublic forum,”

Forbes, 523 U.S. at 677.

     Applying this three-part classification framework to the

interactive space, we can first conclude that the interactive space

of a tweet sent by @realDonaldTrump is not a traditional public

forum.   There is no historical practice of the interactive space

of a tweet being used for public speech and debate since time

immemorial, for there is simply no extended historical practice as

to the medium of Twitter.   While the Supreme Court has referenced

the “vast democratic forums of the Internet,” Reno v. ACLU, 521

U.S. 844, 868 (1997), has described the internet (including social

media platforms such as Twitter) as one of “the most important

places (in a spatial sense) for the exchange of views,” Packingham

v. North Carolina, 137 S. Ct. 1730, 1735 (2017), and has analogized

the internet to the “essential venues for public gatherings” of




                                60
streets   and    parks,   id.,       the   lack   of    historical   practice   is

dispositive, see Forbes, 523 U.S. at 678.

     Accordingly, we consider whether the interactive space is a

designated public forum, with “governmental intent” serving as

“the touchstone for determining whether a public forum has been

created.”     Gen. Media Commc’ns, Inc. v. Cohen, 131 F.3d 273, 279

(2d Cir. 1997).     “Intent is not merely a matter of stated purpose.

Indeed, it must be inferred from a number of objective factors,

including: [the government’s] policy and past practice, as well as

the nature of the property and its compatibility with expressive

activity.”      Paulsen v. County of Nassau, 925 F.2d 65, 69 (2d Cir.

1991) (citing Cornelius, 473 U.S. at 802-03).

     Here, these factors strongly support the conclusion that the

interactive      space    is     a    designated        public   forum.     “The

@realDonaldTrump account is generally accessible to the public at

large without regard to political affiliation or any other limiting

criteria,” “any member of the public can view his tweets,” and

“anyone [with a Twitter account] who wants to follow the account

[on Twitter] can do so,” unless that person has been blocked.

Stip. ¶ 36.     Similarly, anyone with a Twitter account who has not

been blocked may participate in the interactive space by replying

or retweeting the President’s tweets.                  Stip. ¶¶ 21, 22, 28, 36.

Further, the account -- including all of its constituent components

-- has been held out by Scavino as a means through which the

                                           61
President “communicates directly with you, the American people!”

Stip. ¶ 37 (alterations incorporated).               And finally, there can be

no serious suggestion that the interactive space is incompatible

with expressive activity: rather, Twitter as a platform is designed

to allow users “to interact with other Twitter users in relation

to [their tweets],” Stip. ¶ 13, and users can use Twitter to

“petition their elected representatives and otherwise engage with

them in a direct manner,” Packingham, 137 S. Ct. at 1735.                   The

interactivity of Twitter is one of its defining characteristics,

and   indeed,    the    interactive   space     of    the   President’s   tweets

accommodates a substantial body of expressive activity.                   Stip.

¶¶ 41-43.    Taking these factors together, we conclude that the

interactive space of a tweet from the @realDonaldTrump account

constitutes a designated public forum.

      D.    Viewpoint Discrimination

      “[T]he extent to which the Government can control access

depends on the nature of the relevant forum,” Cornelius, 473 U.S.

at 800, so we next consider whether the blocking of the individual

plaintiffs      is     permissible    in    a   designated      public    forum.

“Regulation of [a designated public forum] is subject to the same

limitations as that governing a traditional public forum” --

restriction are permissible “only if they are narrowly drawn to

achieve a compelling state interest.”                ISKCON, 505 U.S. at 678-

79; see also Cornelius, 473 U.S. at 800.                    Regardless of the


                                       62
specific nature of the forum, however, “[v]iewpoint discrimination

. . .    is   presumed    impermissible      when   directed   against     speech

otherwise within the forum’s limitations.”               Rosenberger, 515 U.S.

at 830; see also Matal, 137 S. Ct. at 1763 (“When government

creates such a forum, in either a literal or ‘metaphysical’ sense,

some    content-   and    speaker-based     restrictions     may   be    allowed.

However, even in such cases, what we have termed ‘viewpoint

discrimination’      is    forbidden.”      (citations     omitted)      (quoting

Rosenberger, 515 U.S. at 830-31)).

        Here, the individual plaintiffs were indisputably blocked as

a result of viewpoint discrimination.           The record establishes that

“[s]hortly after the Individual Plaintiffs posted the tweets . . .

in which they criticized the President or his policies, the

President blocked each of the Individual Plaintiffs,” Stip. ¶ 53,

and defendants do “not contest Plaintiffs’ allegation that the

Individual Plaintiffs were blocked from the President’s Twitter

account    because   the   Individual       Plaintiffs    posted   tweets       that

criticized the President or his policies.”                  Stip. at 1.         The

continued     exclusion     of   the   individual      plaintiffs       based     on

viewpoint is, therefore, impermissible under the First Amendment.22


      22 Even if the interactive space associated with the content of a tweet

constituted a nonpublic forum, the exclusion of the individual plaintiffs would
not withstand First Amendment scrutiny. “Control over access to a nonpublic
forum can be based on subject matter and speaker identity so long as the
distinctions drawn are reasonable in light of the purpose served by the forum
and are viewpoint neutral.” Cornelius, 473 U.S. at 806. The blocking of the
individual plaintiffs, which resulted from their “tweets that criticized the


                                       63
      Defendants        contend   that      the    blocking       of    the   individual

plaintiffs is permissible because the President retains a personal

First Amendment interest in choosing the people with whom he

associates and retains the right not to engage with (i.e., the

right to ignore) the individual plaintiffs.                   Further, they argue,

the individual plaintiffs have no right to be heard by a government

audience    and    no    right    to    have     their    views    amplified      by   the

government.       While those propositions are accurate as statements

of   law,   they    nonetheless        do   not   render     the       blocking   of   the

individual plaintiffs constitutionally permissible.

      To be clear, a public official does not lose his First

Amendment rights upon taking office.                     Cf. Garcetti v. Ceballos,

547 U.S. 410, 417 (2006).              “The interest of the public in hearing

all sides of a public issue,” an interest that the First Amendment

seeks to protect, “is hardly advanced by extending more protection

to citizen-critics than to [public officials].”                         Bond v. Floyd,

385 U.S. 116, 136 (1966).               That is, no set of plaintiffs could

credibly argue that they “have a constitutional right to prevent

[government officials] from exercising their own rights” under the

First Amendment.         X-Men Sec., Inc. v. Pataki, 196 F.3d 56, 70 (2d

Cir. 1999).       Further, “[n]othing in the First Amendment or in [the

Supreme] Court’s case law interpreting it suggests that the rights



President or his policies,” Stip. at 1, is not viewpoint-neutral, and is
therefore impermissible “regardless of how the property is categorized under
forum doctrine,” Wandering Dago, 879 F.3d at 39.
                                            64
to speak, associate, and petition require government policymakers

to listen or respond to individuals’ communications on public

issues.”     Minn. State Bd. for Cmty. Colls. v. Knight, 465 U.S.

271,   285   (1984).    No    First    Amendment   harm     arises     when     a

government’s    “challenged    conduct      is   simply     to     ignore     the

[speaker],” as the Supreme Court has affirmed that “[t]hat it is

free to do.”    Smith v. Ark. State Highway Emps., Local 1315, 441

U.S. 463, 466 (1979) (per curiam). Stated otherwise, “[a] person’s

right to speak is not infringed when government simply ignores

that person while listening to others,” or when the government

“amplifies” the voice of one speaker over those of others.                  Minn.

State Bd., 465 U.S. at 288.     Nonetheless, when the government goes

beyond merely amplifying certain speakers’ voices and not engaging

with others, and actively restricts “the right of an individual to

speak freely [and] to advocate ideas,” it treads into territory

proscribed by the First Amendment.         Id. at 286 (quoting Smith, 441

U.S. at 464).

       Consideration   of    Twitter’s     two   features        for   limiting

interaction between users -- muting and blocking -- is useful in

addressing the potentially conflicting constitutional prerogatives

of the government as listener on the one hand and of speakers on

the other, as muting and blocking differ in relevant ways.                     As

Twitter explains, “[m]ut[ing] is a feature that allows [a user] to

remove an account’s Tweets from [the user’s] timeline without


                                      65
unfollowing or blocking that account.”           How to Mute.      For muted

accounts that the muting account does not follow on Twitter,

“[r]eplies and mentions will not appear” in the muting account’s

notifications, nor will mentions by the muted account.              Id.   That

is, muting allows a user to ignore an account with which the user

does not wish to engage.        The muted account may still attempt to

engage with the muting account -- it may still reply to tweets

sent by the muting account, among other capabilities -- but the

muting account generally will not see these replies.23           Critically,

however, the muted account may still reply directly to the muting

account, even if that reply is ultimately ignored.

       Blocking, by contrast, goes further.        The blocking user “will

not see any tweets posted by the blocked user” just as a muting

user would not see tweets posted by a muted user, but whereas

muting preserves the muted account’s ability to reply to a tweet

sent by the muting account, blocking precludes the blocked user

from   “see[ing]    or   reply[ing]   to   the   blocking    user’s   tweets”

entirely.     Stip. ¶ 28.      The elimination of the blocked user’s

ability to reply directly is more than the blocking user merely

ignoring the blocked user; it is the blocking user limiting the

blocked user’s right to speak in a discrete, measurable way.




      23 These replies will appear in the muting account’s notifications if the

muting account follows the muted account. Of course, the fact that one account
follows a second account strongly indicates some desire by the first user to
engage with the second user. Stip. ¶ 19.
                                      66
Muting equally vindicates the President’s right to ignore certain

speakers and to selectively amplify the voices of certain others

but -- unlike blocking -- does so without restricting the right of

the ignored to speak.

     Given these differing consequences of muting and blocking, we

find unpersuasive defendants’ contention that a public official’s

muting and blocking are equivalent, and equally constitutional,

means of choosing not to engage with his constituents.    Implicit

in this argument is the assumption that a reply to a tweet is

directed only at the user who sent the tweet being replied to.

Were that so, defendants would be correct in that there is no

difference between the inability to send a direct reply (as with

blocking) and the inability to have that direct reply heard by the

sender of the initial tweet being responded to (as with muting).

But this assumption is not supported in the record: a reply is

visible to others, Stip. ¶ 22, and may itself be replied to by

other users, Stip. ¶¶ 57-58.    The audience for a reply extends

more broadly than the sender of the tweet being replied to, and

blocking restricts the ability of a blocked user to speak to that

audience.   While the right to speak and the right to be heard may

be functionally identical if the speech is directed at only one

listener, they are not when there is more than one.

     In sum, we conclude that the blocking of the individual

plaintiffs as a result of the political views they have expressed

                                67
is   impermissible       under     the    First   Amendment.      While    we    must

recognize, and are sensitive to, the President’s personal First

Amendment rights, he cannot exercise those rights in a way that

infringes the corresponding First Amendment rights of those who

have criticized him.

      To   be    sure,   we   do    not    suggest   that   the   impact    on    the

individual plaintiffs (and, by extension, on the Knight Institute)

is of the highest magnitude.               It is not.       But the law is also

clear: the First Amendment recognizes, and protects against, even

de minimis harms. See Six Star Holdings, LLC v. City of Milwaukee,

821 F.3d 795, 805 (7th Cir. 2016) (rejecting an argument of “de

minimis” First Amendment harm and approving an award of nominal

damages); Lippoldt v. Cole, 468 F.3d 1204, 1221 (10th Cir. 2006)

(similar); KH Outdoor, LLC v. City of Trussville, 465 F.3d 1256,

1261 (11th Cir. 2006) (similar); Risdal v. Halford, 209 F.3d 1071,

1072 (8th Cir. 2000) (similar); cf. Elrod v. Burns, 427 U.S. 347,

373 (1976) (plurality opinion) (“The loss of First Amendment

freedoms,       for   even    minimal     periods    of   time,   unquestionably

constitutes irreparable injury.”); N.Y. Progress & Prot. PAC v.

Walsh, 733 F.3d 483, 486 (2d Cir. 2013) (same).                Thus, even though

defendants are entirely correct in contending that the individual

plaintiffs may continue to access the content of the President’s

tweets, Stip. ¶¶ 55-56, and that they may tweet replies to earlier

replies to the President’s tweets, Stip. ¶¶ 57-58, the blocking of


                                           68
the individual plaintiffs has the discrete impact of preventing

them from interacting directly with the President’s tweets, Stip.

¶ 54, thereby restricting a real, albeit narrow, slice of speech.

No more is needed to violate the Constitution.

IV.   Relief

      As plaintiffs seek both injunctive and declaratory relief, we

turn, then, to the question of the proper remedy to be afforded

here.24   Defendants suggest that we categorically lack authority

to enjoin the President, a proposition we do not accept.              Stated

simply, “separation-of-powers doctrine does not bar every exercise

of jurisdiction over the President of the United States.”              Nixon

v. Fitzgerald, 457 U.S. 731, 753-54 (1982).          Rather, “it is . . .

settled that the President is subject to judicial process in

appropriate circumstances,” Clinton v. Jones, 520 U.S. 681, 703

(1997), and the Supreme Court has expressly rejected the notion of

“an absolute, unqualified Presidential privilege of immunity from

judicial process under all circumstances,” id. at 704 (quoting

United States v. Nixon, 418 U.S. 683, 706 (1974)).




      24 We do not analyze separately the argument that the blocking of the

individual plaintiffs violates their right “to petition the Government for a
redress of grievances” under the First Amendment’s Petition Clause. The First
Amendment right to speech and petition “are inseparable,” and generally “there
is no sound basis for granting greater constitutional protection” to one over
the other. McDonald v. Smith, 472 U.S. 479, 485 (1985). “There may arise cases
where the special concerns of the Petition Clause would provide a sound basis
for a distinct analysis,” Borough of Duryea v. Guarnieri, 564 U.S. 379, 389
(2011), but this case does not present one of them.
                                     69
     However,      “a   court,     before     exercising     jurisdiction,        must

balance the constitutional weight of the interest to be served

against the dangers of intrusion on the authority and functions of

the Executive Branch.”         Nixon v. Fitzgerald, 457 U.S. at 754.                A

four-Justice plurality of the Supreme Court has explained that

while “in general ‘this court has no jurisdiction of a bill to

enjoin the President in the performance of his official duties,’”

Mississippi v. Johnson, 71 U.S. (4 Wall) 475, 499 (1866), “left

open the question whether the President might be subject to a

judicial     injunction      requiring      the   performance      of    a   purely

‘ministerial’ duty.”          Franklin, 505 U.S. at 802–03 (plurality

opinion) (quoting Mississippi v. Johnson, 71 U.S. (4 Wall) at 499).

Franklin’s acknowledgment of the door left open by Mississippi v.

Johnson is consistent with the balancing approach articulated by

the Court in Nixon v. Fitzgerald: an injunction directing the

performance of a ministerial duty represents a minimal “danger[]

of intrusion on the authority and functions of the Executive

Branch”    as     compared   to    imposition     posed      by   the    injunction

considered in Mississippi v. Johnson.

     In     this    case,    the    intrusion     on    executive       prerogative

presented    by    an   injunction    directing        the   unblocking      of    the

individual plaintiffs would be minimal.             Any such injunction would

not direct the President to execute the laws in a certain way, nor

would it mandate that he pursue any substantive policy ends.                      Even


                                         70
accepting that the President’s blocking decisions in the first

instance are discretionary, the duty to unblock -- following a

holding that such blocking was unconstitutional -- would not be,

as the President must act in compliance with the Constitution and

other laws.    Cf. Swan, 100 F.3d at 977 (“[The asserted statutory]

duty, if it exists, is ministerial and not discretionary, for the

President is bound to abide by the requirements of duly enacted

and otherwise constitutional statutes.”).          That is, the correction

of   an   unconstitutional    act   far     more   closely   resembles    the

performance of “a mere ministerial duty,” where “nothing [is] left

to discretion,” than the performance of a “purely executive and

political” duty requiring the exercise of discretion vested in the

President.    Mississippi v. Johnson, 71 U.S. (4 Wall) at 499.            An

injunction directing the unblocking of the individual plaintiffs

would therefore impose a duty that far more closely resembles the

duties considered in Swan, see 100 F.3d at 977-78, and in National

Treasury Employees Union v. Nixon, 492 F.2d 587, 608 (D.C. Cir.

1974) (defining a “ministerial duty” as “a simple, definite duty,

arising under conditions admitted or proved to exist, and imposed

by   law”),   than   the   highly   discretionary     duty   considered   in

Mississippi v. Johnson.         The ways to faithfully execute the

Reconstruction Acts passed by Congress following the Civil War are

uncountable in number, but “[t]he law require[s] the performance

of a single specific act” here.           Mississippi v. Johnson, 71 U.S.


                                     71
(4 Wall) at 499.          No government official, after all, possesses the

discretion to act unconstitutionally.

     We need not, however, ultimately resolve the question of

whether injunctive relief may be awarded against the President, as

injunctive      relief       directed    at    Scavino       and   declaratory       relief

remain       available.        While    we     find    entirely       unpersuasive      the

Government’s         parade       of    horribles        regarding        the    judicial

interference         in   executive     affairs       presented      by   an    injunction

directing        the      President       to       comply      with       constitutional

restrictions, we nonetheless recognize that “[a]s a matter of

comity, courts should normally direct legal process to a lower

Executive official even though the effect of the process is to

restrain or compel the President.”                   Nixon v. Sirica, 487 F.2d 700,

709 (D.C. Cir. 1973) (en banc) (per curiam). Subordinate officials

may, of course, be enjoined by the courts.                     See, e.g., Youngstown

Sheet    &    Tube     Co.   v.   Sawyer,      343    U.S.    579,    584,     588   (1952)

(affirming an injunction directed at the Secretary of Commerce);

see also, e.g., Int’l Refugee Assistance Project v. Trump, 857

F.3d 554, 605 (4th Cir.) (en banc) (vacating an injunction only to

the extent it was directed at the President), vacated and remanded,

138 S. Ct. 353 (2017).            Injunctive relief directed against Scavino

would certainly implicate fewer separation-of-powers concerns, see

Franklin, 505 U.S. at 802-03, but we also recognize that “the

strong remedy of injunction,” Rivera-Puig v. Garcia-Rosario, 983


                                              72
F.2d 311, 316 (1st Cir. 1992), should be sparingly employed even

when those constitutional concerns are not present; see, e.g.,

Salazar v. Buono, 559 U.S. 700, 714-15 (2010) (plurality opinion).

     Accordingly, though we conclude that injunctive relief may be

awarded in this case -- at minimum, against Scavino -- we decline

to do so at this time because declaratory relief is likely to

achieve the same purpose.      The Supreme Court has directed that we

should “assume it is substantially likely that the President and

other executive . . . officials would abide by an authoritative

interpretation of [a] . . . constitutional provision,” Franklin,

505 U.S. at 803 (plurality opinion); see Utah v. Evans, 536 U.S.

at 464 (citing Franklin, 505 U.S. at 803 (plurality opinion)); see

also Allco Fin. Ltd. v. Klee, 861 F.3d 82, 96 (2d Cir. 2017); Made

in the USA, 242 F.3d at 1310; Swan, 100 F.3d at 980; L.A. Cty. Bar

Ass’n v. Eu, 979 F.2d 697, 701 (9th Cir. 1992) (“Were this court

to issue the requested declaration, we must assume that it is

substantially likely that [government officials] . . . would abide

by our authoritative determination.”), and there is simply no

reason to depart from this assumption at this time.        Declaratory

judgment is appropriate under the factors that the Second Circuit

directs us to consider, see Dow Jones & Co. v. Harrods Ltd., 346

F.3d 357, 359-60 (2d Cir. 2003), and a declaration will therefore

issue:   the   blocking   of   the   individual   plaintiffs   from   the




                                     73
@realDonaldTrump account because of their expressed political

views violates the First Amendment.

     “It is emphatically the province and duty of the judicial

department to say what the law is,” Marbury v. Madison, 5 U.S. (1

Cranch) 137, 177 (1803), and we have held that the President’s

blocking of the individual plaintiffs is unconstitutional under

the First Amendment.   Because no government official is above the

law and because all government officials are presumed to follow

the law once the judiciary has said what the law is, we must assume

that the President and Scavino will remedy the blocking we have

held to be unconstitutional.

V.   Conclusion

     We conclude that we have jurisdiction to entertain this

dispute.     Plaintiffs have established legal injuries that are

traceable to the conduct of the President and Daniel Scavino and,

despite defendants’ suggestions to the contrary, their injuries

are redressable by a favorable judicial declaration.        Plaintiffs

lack standing, however, to sue Sarah Huckabee Sanders, who is

dismissed as a defendant.       Hope Hicks is also dismissed as a

defendant,    in   light   of   her    resignation   as   White   House

Communications Director.

     Turning to the merits of plaintiffs’ First Amendment claim,

we hold that the speech in which they seek to engage is protected

by the First Amendment and that the President and Scavino exert

                                  74
governmental control over certain aspects of the @realDonaldTrump

account,      including the interactive space of the tweets sent from

the account.       That i~teractive space is susceptible to analysis

under    the     Supreme   Court's    forum    doctrines,      and   is    properly

characterized as a designated public forum.                  The viewpoint-based

exclusion of the individual plaintiffs from that designated public

forum 1s proscribed by the First Amendment and cannot be justified

by the President's personal First Amendment interests.

        In sum, defendants' motion for summary judgment is granted in

part and denied 1n part, and plaintiffs' cross-motion for summary

judgment is granted in part and denied in part.                 The Clerk of the

Court    is    directed    to   terminate    the   motions    pending     at   docket

entries 34 and 42.

        SO ORDERED.

        Dated:      New York, New York
                    May 23, 2018


                                              L<22"~~
                                              NAOMI REICE BUCHWALD
                                              UNITED STATES DISTRICT JUDGE




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